   F1RC-L3E


 HERMANN              HOSPITAL                                                                              MEDICATION                 ADMINISTRATION       RECORD

 NAME                                                                                I
                      ALTER    KEViH                                                       .602-0                                          GEHATED       01-10-99            1104pr1
 ACCT.
                   069254909010                                                            fl                                              FOP PERIOD    01-11-99            0700
                  4yr                                                                T      152.40                 cm                      THROUGH       01-12-99            0659
            R.     PUKE     JAMES     H.    T                                             122.46               kg                          AAM1TTIED     01-09-99           1150Fw
   SErV1CE   TRAUMA                                                            ES               i   2    T.2


   ALLERGIES   DIPHENHVDRAMII1E


   DIAGNOSIS             A789.07                                                                                                                        PAGE        1       OF   1




   START                RECONCILE/                             MEDICATION                               DOSE ROUTE                      FREQUENCY
    STOP                 INITIALS                                                                                                                                                000-1500                  15 01-23     00    2301-G

    01-11i       07                              AMPICILLIN                                                                              i6T                   5198         1
                                            HACL        0.9                                                                             50ML
                                            FREQ          A6                    FUSE                    8               100   ML/HR

    01-12        06                         KEEP        REFRIGERA-1-11                                                                                                                      d

                                                                                                                                                                                                j


    01-10        16                         DEXTROSE           5        -HACL        .457-KC 20MEO                                1000ML                       5217         1
                                            FREE          08H                   I USE 8                                 125   TLHR                                                     08                      16                24

                                            FLOORSTOCK                  ITEV

    02-09        15




    01-10     07                                 GENTAMICIN                                                                           400116                   5198         3
                                            tACL        0.97                                                                           IOOML                                           0$OO
                                            FRED          824                   171 3E              8             217.86      1L /HR

   01-17      0t                            KEEP        REFRIGERATt




   01-10      17                           HEPARIN         5000UHIT              INJ         SA BID                                                            52162                                  Ib
                                                                                                                                                                                       ýý                      1ý

   01-17      16




                                                                                                                                                                                                                               z4f




                                                                                                                                                               bý                                          -




                                                               P    R    N      ri    k    D        E    R     S




   01-i0     it                4           HCETANINOPHEN                     6606         -AE           PO     04HFRH                                          5217         6
                                           TEMP38.5C
                               I7
                                           EE      PR    ORDER
  02-09      15




  01-10      16                            ACETAMINOPHEN                                  SUPP           PR        94HPRN                                      5217         4
                                           TEMP38.5
                                           JCL     r0    ORDER
  02-09      15




             76                            PROMETHAZINE                  1. 0flG                INJ          IV     03-4HPRN                                   5216     f   1                           aýjv
-01-i0                                     IV/IM
                                           FOR    NAUSEA            AND      .itTIN
             15




IITIALS                 NAME        PROFESSIONAL                   TITLE                     INITIALS                          NAME            OFESSIONAL   TITLE                    INITIALS         NAME      PROFESSIONAL TITLE


                                                    its                                                                                                                                         ý1c                 i        a lac

                                                                                                                                                                        klu
                                                      MEDICATION   ADMINISTRATION          RECORD
HERMANN      HOSPITAL

NAME
ACCT
                     9010
          96 92549 0
                      KEVIN
          ALTER                     05/ 14/74
                     24y DOB
          BM Age
          Visit/Admit
                               Dt   01/09/99                        Co l/
                                                                                                                                   oL
                                                                    I   ý   1Cl
  START      RECONCILE/                  MEDICATION DOSE ROUTE      FREQUENCY
  STOP        INITIALS




                                                  ODd uf-s
                                4AIlrill




                                    -9            Mý70

                                                               NAME         PROFESSIONAL   TITLE            S   NAME   ROFE   SI   N    TITLE
IITIALS       NAME        PROFESSIONAL    TITLE    INITIALS                                         INITI
                         -                                        ADMINISTRATION      RECORD
                                                     MEDICATION
iERMANN   HOSPITAL

JAME
ccT
                0 9010
                                                                                                     II




        6 92549
                       KEVIN
       WALT ER
       BM Age     24y     DOB     05/14/74
                                  01/09/99
                                                                         co
       B                     Dt
       Visit/Admit



                                                                   FREQUE   CY
START      RECONCILE               MEDICATION DOSE ROUTE
            INITIALS
 STOP

                                               f /ýýS
                             1   U--

                                               CCU




                                                                                      IV




                                                                                                              NAME   PROFESSIONAL   TITLE
                                                                    ME   ROF     SI   NAL   ITLE   INITIALS
---------------JITIALS
          NAME PROFESSIONAL            TITLE             S




                                                                                                                              1
                DYNACAPE HERMANN                                                            1couarNo.        9697549090/0             1


                 Laboratcrv       Services                                                  Path ot          RALTER.           KEVIN
                                                                                                             0000096925490
                          6411   Fannin                                                     Pln-.ckian       DUKE LAAES H. TRAJMA
                Houston      r-ý..s   77030-1501                                            Location         GSUR       1612    00

                       713 704-5227                                                         Dow 41Birth      1-5-11411974        t 4 2S                A/




                                                              w       ý                                  w




                                             01/11/99
                                                   0428

                                                                                                                 REFERENCE                    UNITS
    SODIUM                                           137                                                          135-1451                    MEQ/L
    POTASSIUM                                        3.1                                                          3.-5-5..0                   MEQ/L
CHLORIDE                                                 98                                                       95-108                      MEQ/L
CO2                                                      31                                                       24-32                       MEQ/L
CREATININE                                           1    0
                                                                                                                  0.5-1.4                     MG/DL
BUN                                                       9                                                       10-20                       MG/DL
GLUCOSE                                             .10                                                           65-1101                     MG/DL




L          rid
           it    of   Ref.    Range


      Printed    DalTim.
                                                                  -
                                      0111511999   2136                                                                                            1



                                                                          SPLIT-CUMULA   TI VE
    iist   hure   Am                                                                                                                 Conhiuued..
           DYNACARE HERMANN                                                                                    1   omri No.     969254909110            /


              Laborafct                Services                                                                Polienl          It   ALTER.      K-E17N

                                                                                                                                0000096925490
                           6411 Fannin                                                                         Plmcician        DUKF_..1.4AIF_S        H.   7R1 U1IA
            Houston Texas                77030-1501                                                            Lornion          GSUR       .160   10

                       714        704-5227                                                                     Dale n/   Rind   05/1440.74         I   e 24 YRS       Sex       At




                                                    01/11/99
                                                       0428

                                                                                                                                     REFERENCE                    UNITS

 HEMOPROFILE
WBC       X   10x3                                           8.6                                                                      4.8 10.8                    /CMM
 RBC      X   10x6                                      2.76                                                                          4.70-6.10                   /CMM
 HEMOGLOBIN                                              7.9                                                                          1.0-18.0                    G/DL
 HEýATOCRIT                                             23.2                                                                          42.0-54.0                   %

MCV                                                     83.9                                                                          80.0-94.0                   FL
MCH                                                     28.6                                                                          27.0-31.0                   PG
                                                        34.1
MCHC                                                                                                                                  32.0-36.0                   %
ROW                                                     15.9                                                                          11.5-14.5                   %

PLATELET           X   10x3                              433                                                                          133-333                     /CMM
MPV                                                                                                                                   7.4-10.41                   FL


DIFFERENTIAL
PrT-YS                                                        65                                                                      43     84                   %
         HOCYTES                                              21
                                                                                                                                      12-421                      %
h.-.UCYTES                                                    10                                                                      1- 13                       %

EOSINOPHILS                                                    3
                                                                                                                                      0-6                         %
BASOPHILS                                                      0                                                                      0-1                         %


RBC MORPHO
PLT      ESTIMATE                                     INC     SL                                                                      NORMAL




                                                   01/11//99
                                                      0428

                                                                                                                                     REFERENCE                    UNITS
PROTIME                                                 13.4                                                                         11.1-13.1                    SEC
INR                                                     1.23f
aPTT                                                   25.7                                                                          25.0-34.0                    SEC




Legend
      Out     of    Ref.        Range          f
                                           Footnote
INR                              RECOMMENDED  RANGES                    FOR     PROTIME   INR
                                        2.0-3.0        for         most medical     and   surgical thromboembolic  states.
                                        3.0-4.5        for         artificial     heart   valves and recurrent  embolism.
                                                                                                                                                                      -




      Printed Doici71nre
                                                                                                                                             -
                                         11//5/1999         2/36                                                                                                            2

                                                                                           SPLIT-CUMULA     TIVE
 Discharge      Dare                                                                                                                                   Coniiwed..


                            rýr..t.r   ITill   O7V          0.4     ILATI.lV
         DYNACARE HERMANN                                                                                                          cai.v              960254909010               1




                                               Services                                                                           Patient             IL4LTER.           AE1 TV
             Laboratory
                                                                                                                                                      00000       96 92 54 90

                           6a     1   1       Fannin                                                                              Phrcicinn           DUKE.      .1.-1   /ES    H.   TR bXIA
                                                                                                                                                                                        l




             Houston. Texas                         77030-1501                                                                    Location            G.SUR.1602           10

                           7131               7104-5227                                                                           Date   of   Birth   .il       47j       4ge        J RS   .Se       Al




                                                                                           BLOOD GROUP AND TYPE

                                                        ABO/RH          TYPE
         01/12/99                     1536                    A   POS


                                                                                   ANTIBODY SCREENING            AND TESTING

                                                       ANTIBODY          SCREEN                                                                        Y..


         01/12/95                              16             NEGATIVE



                                                                                                                all
                                                                                       PRODUCT/BLOOD          COMPONENT

                       ----------------3526875
                           DONOR                NUMBER                                                                                                      TRANSFUSION              DATE
                                                                                                       -------------

                                                                                        RBC                                                                      01/13 /99
                       3533161.                                                         RBC                                                                      01/12/99




                       DONOR   NUMBER                                                           XM   RESULT                                                      XM      DATE


                           ---------35208
                       -----------
                                                                                                     COMPAT                                                      01/12/99
                           353316                                                                    COMPAT                                                      01/12/99



                                                          e               o                                               o   0    0




BLOOD CULTURE-AUTOMATED                                                   ACCESSION           BC-99-00717                         COLLECTED                  10JAN99            0536
SOURCE   BLOOD                                                                                                                    RECEIVED                   10JAN99            1208




-------                                               RELIMINARY              REPORT
                                                                                                                1451
                                                                                       -------------------01/15/99


  NO     GROWTH             AT            5     LAYS




BLOOD CULTURE-AUTOMATED                                                   ACCESSION           BC-99-00718                         COLLECTED                  10JAN99           0537
SOURCE   BLOOD                                                                                                                    RECEIVED                   J.OJANS9           1009




...........                               .--         PRELIMINARY             REPORT   ----------
                                                                                                -----01/15/99 1451

  NO     GROWTH-           ST             5    DAYS




   Printed Iai 7inre

                                                    01/15/1999     2136                                                                                                                           3

                                                                                                     SPLIT-CUVI UL4 TI I C
 1i.q   Iu    e   i   an                                                                                                                                                        Cnnlintretl..




              T       tn     Al       a                I1 1ORIOLj1G                     B/f1/    R.1 NVK    8/101      BANK                                                                     S V
           DYNACARE HERMANN                                                                                     lrconnt\o.       9692549001/1          I




            Laboratory             Services                                                                     fallen           NWALTER.      EF171V

                                                                                                                                 0000096925490
                       6411       Fannin                                                                        Pherician        DUKE. .1-11iF.SH TR1S1.1

           Houston                 3   77030-1501                                                              l.ocation         GSUR     .160   00

                      7           7t4-5227                                                                     Dare   of Birth   151/4.197.1     1e 24 R.S     Sex       .1




BODY        FLD/TISSUE  CULT W/GRAM                         ST    ACCESSION       r    99.013-1165             COLLECTED             13JAN99          0715
SOURCE           BODY FLUIDOTHER                                                                               RECEIVED              13JAN99          0734




-------------------GRAM
 ------------------                      STAINS        PREPARATIONS
            STAIN                                                                          01/13/99    1245
      MANY      WBCS
      NO   ORGANISP.S             SEEN


 ...................                      PRELIMINARY              REPORT
                                                                                                        1204
                                                                               -------------------01/15/99


     RARE       GRAM       POSITIVE            COCCI    IN       CLUSTERS




WOUND/EXUDATE   CULT                     W/GRAM        ST         ACCESSION           99-013-1166              COLLECTED             13JAN99          0715
SOURCE    WOUND                                                                                                RECEIVED              13JAN99          0734
                            CHEST



-----GRAM
                                          TUBE


--             ------------              STAINS/PREPARATIONS
           STAIN                                                                           0.1/13/99   1354
     NO    WBCS
     NO    SQUAMOUS EPITHELIAL                     CELLS
     NO    ORGANISM SSEEN

------------                      ---     PRELIMINARY             REPORT
                                                                               -------------------01/
                                                                                           14/99   0927
     FEW    STAPHYLOCOCCUS                 SPECIES            NOT       S.   AUREUS



BODY FLD/TISSUE CULT W/GRAM                             ST       ACCESSION       n    99-011-2416              COLLECTED            11JAN99           1447
SOURCE    PLEURA. FLUID                                                                                        RECEIVED             11JAN99           1540




-------------------GRAM
-------------               ----         STAINS/PREPARATIONS
           STAIN                                                                           01/11/99    1756

     MANY WBCS
     NO ORGANISMS             SEEN


..............                    ----     -    FINAL       REPORT            ____________________
                                                                                       01/14/99        1024

     NO    GROWTH      AT     3    DAYS




     Printed   Da lelimr                                            -

                                        011151999      2136                                                                                                          4

                                                                                              SPL1 T-CUMULA TIVE
 Di.crharýc     Dam                                                                    -                                                              Coninued..



                                          All-RORIOLOG 1
            DYNACARE HERMANN                                                                                        1crvnov      No.        9092 i4909010        I




            Laboratory                  Services                                                                    Poiien   t              JJALTER.       KMA
                                                                                                                                            00000   96 925.190

                       641      1   Fannin                                                                           PInsiriun              DUkE. JI1.MES       H.   TRA1       I.4

            Houston        Texas             77030-1501                                                             I.oroion                GSUR    1602   00

                      PD 704-5227                                                                                   Date     of Birth       05i411974      .4g       2J   1RS   Sex   W




ANAEROBIC            CULTURE                                              ACCESSION          99-011-2416            COLLECTED                  11JAN99          1447
SOURCE              PLEURAL FLUID                                                                                   RECEIVED                   11JAN99          1540



                                -----           PRELIMINARY                REPORT
                                                                                      ---------01/15/99     1506
      NO    GROWTH         AT       4    DAYS




BODY FLD/TISSUE CULT W/GRAM                                         ST    ACCESSION         99-011-2405             COLLECTED                  11JAN99          1.445

SOURCE   ABSCESS                                                                                                    RECEIVED                   11JAN99          1533
               LIVER ABSCESS



-------------------TRAM
---------------                         --    STAINS/PREPARATIONS
            STAIN                                                                             01/11/99      1747
      FEW    WBC 3          MANY             RBC S
      RPF      GRAM        POSITIVE              COCCI             IN    PAIRS


---         ----------------                          FINAL             REPORT
                                                                                 ----------------------01/14/99
                                                                                                            1024
      THIS            REPORT             CONTAINS              A   CORRECTON
   MANY        GROUP   STREPTOCOCCUS   ENTEROCOCCUS
   NOTE        THAT AMPPCILLIN WAS CHANGED   FROM RESISTANT                                          TO
      SENSITIVE.


------------------                            SUSCEPTIBILITY                          G
                                               ----------------STRNT
                                    -
                                    MIC        7NTER.P
iPICILLIN                                           ---.
 ENTAAIC        I N                                        S

3TREP        1000                                          S

.INCO/Y         I N                                        S




ANAEROBIC         CULTURE                                                 ACCESSION        99-011-2405              COLLECTED                 11JAN99           1445
.OURC            ABSCESS                                                                                            RECEIVED                  11JAN99           1533
                             LIVER             ABSCESS

-------------------                            PRELIMINARY                 REPORT
                                                                                                             1506
                                                                                    -------------------01/15/99


 NO        ANAEROBES            AFTER           4    DAYS




   Prnrd Duk        7imr                                                                                                                -

                                             01/15%1999        2136                                                                                                               5

                                                                                                 SPLIT-CUMULATIVE
 Oisc   bane   /nrp                                                                                                                                             Cun/inurd..
         DYNACARE                     HERMANN                                                                         Lcramllo.     969-549O90/0J        l



              Laboratory              Services                                                                       Patient        If   AL TER. KEVIN
                                                                                                                                    00000    96925.90

                      641 Fannin                                                                                     IIncician      UUKE..IAAIS11.           T111M     A
         Houston.            Texas      77030-1501                                                                   I.nrarinrr     G.SLR   .160    00

                    713           704-5227                                                                           Darru/Ifirrh   0iI 1                    1   RS   S.ý       AI




URINE         CULTURE                                                ACCESSION         99-010-0477                  COLLECTED            1OJAN99         0535
SOURCE            CLEAN CATCH                      URINE                                                            RECEIVED             10JAN99         0630




                                                      FINAL     REPORT
                                                                             -----01/11/99            0734
   NO    GROWTH             AT    j    DAY




BODY FLD/TISSUE   CULT W/GRAM                                  ST    ACCESSION         99-010-0732                  COLLECTED            10JAN99         0534
SOURCE    SOD-. FLUIDCTHER                                                                                          RECEIVED             10JAN99         1001
                                 DRAIN



-------------------GRAM
---------                        ---        STAINS/PREPARATIONS
         STAIN                                                                            01/10/99    1206
   NO    WBCS               NO
                       SQUAMOUS EPITHELIAL                                 CELLS
   GRAM        POSITIVE COCCI IN FAIRS


                                                      FIN-1L    REPORT
                                                                                                       1112
                                                                            ----------------------01/13/99

   MANY        ELEBSIELLA OXYTOCA
   MANY        GROUP D STREPTOCOCCUS                                ENTEROCOCCUS
   FEW        ACINETO3A TER BAUMANNII                               A.    ANTTRATUS

-----------------                           SUSCEPTIBILITY                TESTING
                                             ----------------STRENT
                                                                                      C
                                                       KLEOXY   LF2
                                      MIC    INTERP            MIC       INTERP            INTERP
AMIKACIJ                                                                      S                  S


AMPICILL/S7             -                                                     S                  S

AMPICILL_TN                                             S                     R                  S

CEFAZOLIN                                                                     S                  R

-EFIPIME                                                                      S                  S

CEFOTAXIME                                                                    S                  S            _




CEFOXITIN                                                                     S                  R
CEFTAZIDIME                                                                   S                  S

C I PROFLOXAC        _II.1                                                    S                  S

ENTAMICIN                                                                     S                  S

SENTAMICIN          500                                 S

IMIPENEM                                                                      S                  S

LEVOFLOXACIN                                                                  S                  S

_IPERACILLIN                                                                  S                  S

IPERCIL Ti-AZO                                                                1                  S

TREP 1000                                               S

OBRAMYCIN                                                                     S                  S


-RIMETH/SJ_FP                                                                 S                 S

ANCOMYCiN                                               S




   PrinICrl   Uarc lime

                                        1///57999           2136                                                                                                            6

                                                                                            SPLIT-CUMULA          TI VE
  Di.crlrnrDarr                                                                                                                                          Continued..                 l7


                                             1.f   r/D/IRUII   OV
         DYNACARE HERMANN                                                                 lrcotrrt    No.   9619254909010              /



          Laboratory          Services                                                    Patient           SYALTER KEJIIV
                                                                                                            00000         9692 i490

                     6411    Fannin                                                       Phrsiriun         DUKE JAMES H. TRAUMA
         Houston      Tcxls       77030-1501                                              /.ocation         GSUR      .160     00

                     713     704-5227                                                     DauofBirth        05//4//c174        ..1ý        24   IRS   Sex       Al




BODY FLD/TISSUE CULT W/GRAM                          ST   ACCESSION     99-010-0716       COLLECTED             10JAI499              0533
SOURCE   BODY FLUIDGTHER                                                                  RECEIVED              10JAN99               0953
               DRAIN



--------------------GRAM
         STAINS/PREPARATIONS
------------------
   STAIN                                                                01/10/99   1159
   FEW      WBCS           MANY   R.ECS
   NO    ORGANISMS           SEEN


----------------------                     FINAL      REPORT
                                                                ------01/13/99     1122
   FEW      REFER      -

                              ULTURE
                                 99-010-0732  FOR IDENTIFICATION

    AND       SUSCEPTIBILITY RESULTS
   RARE       GROUP D STREPTOCOCCUS   ENTEROCOCCUS

              -----------           SUSCEPTIBILITY            TESTING
                                        ----------------STRENT
                             MIC        INTERP
AMI-_.1LLIN                                    S

GENTAMICIN           500                       S

STREP     1000                                 S

VANCOMYCIN                                   S




  Printed

                                  0111511999       2/36                                                                                                     7

                                                                           SPLIT-CUMULATIVE
 li.ceharce   latc                                                                                                                    Cootitltled.

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                                    4   c-nnýtnt /1       Y
        DYNACARE HERMANN                                                                       .4eeoun   No.   9692549090/0              /



          Laboratory         Services                                                          Prienr          HALTER.         KE1-/1r

                                                                                                               0000096915490
                    6411    Fannin                                                             Phcieinn        DUKE.IA.1IE-S            H.   7R.4 i11.41

         Houston     Texas        77030-1501                                                   Locnio          GSLII        .160   00

                    713     704-5227                                                           DateolBirth     0i//4//V7.          1e        W RS   Ser        .t




 01/13/99                  0715                WOUND/EXUDATE        CULT W/GRAM   ST   99-013-1166               PRELIM
 01/13/99                 0115                   FLD/TISSUE
                                               BODY           CULT W/GRAM ST           99-013-1165               PRELIM
 01/12/99                  1536            IMMEDIATE    SPIN CROSSMATCHT1250           99-012-3230               PROCES
 01/11/99                  1447            ANAEROBIC CULTURE                           99-011-2416              PRELIM
01/11/99                  1445             ANAEROBIC CULTURE                           99-011-2405              PRELIM
01/10/99                  0537             BLOOD CULTURE-AUTOMATED                     BC-99-00718              PRELIM
01/10/99                  0536             BLOOD CULTURE-AUTOMATED                     BC-99-00717             -PRELIM




tintedThre/Tine                   01/15/1999     2/36                                                                                                      8

                                                                             SPLIT-CUMULATIVE
 Discharge   Dale                                                                                                                       End of Report


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                                                          ý/.
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               DYNACAREE                           HERMANN                                                                                                                                                   Blood Bank         and Transfusion                 Service

               Laboratory                                       Services


                  6411       Fannin.     Ste.      B450              Houston.     TX.    77030




                  PATIENT                   TYFE                 A       POS
                  PATIENT                   ANTIBODIES                                                                                                                                                                                                   PATIENT           VAI-TER           KEVIN
                  SPEC                      99-012-3250                                                                                                                                                                                                  MED    REC        00-601969E5451
                  DONOR              TYPE               A            POS                                                                                                                                                                                 DOCTOR                         JAMES             TRAU
                                                                                                                                                                                                                                                                           DIKE                     H.

                  DONOR              ANTIEENS                                                                                                                                                                                                            ACE         24    SEX          M

                  COMPONENT                         P.BC                                                                                                                                                                                                 NURSING          STATION             GSUR
                  DOINCR                     S52L875
                  CROSSHATCH                        INTERP     CONPAT

                  TECH              LISSAR             DATE 01/12/99    TIME                                                 1754
                 CROSSKATCH                         EIP PATE   01/15/99

          Prior to        transfusion             we have verified that                                                                        TIME     BEGAN                             TIME        COMPLETE
                                                                                                                  DATE
                                                   and         number on
                                                                                                                                                                                                   ý
          1.          Blood         group                unit

                      blood       bag        label     match  this original

                      Slip.                                                                                        VS                EI        USION             AFTER                15 MIN.         POST    INFUSION     Antibody       Screen
      2.              Duplicate          tag       on       blood       bag      matches
                                                                                                                                 A G                                             ý                     /ýý
                                              lab
                                                                                                                   T                                                                                   _    V
                      this     original                          including           patient
                                                                                                                                     7
                                                        slip
                                                                                                                                                                 C1
                      name             number.                                                                                                                                    I




                                     name              and number on                    wrist


                                                                                                                                         0
      3.              Patients

                         and      matches           duplicate                attached      to                      p                 1
                                                                                                                                 I




          IONr
                      blood       bag.


                                                                                                                                                                                 6
                                        ýy_
                                                                                                                   R
                                                                                                                                     -ý                                          V

     SIGNATURE
                                                                                                                  BP
                                                                                                                                 I



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                                                                                                                                              oý
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                                                                                                                                 REACTION                                        BY
                                                                                                                                 COMPLETE                    SOON

                                                                                                                                 REACTION          REPOIT
                                                                                                                                                    EPOnT
                                                                                                                                                                             I




OHL-319                                                                                             RE TURN UNUSED                                                   BLOOD WITHIIN                                      30 MINUTES


                                                                                                        It    1
                                                                                                                                                                                                                                                                77




                      ACAREE                 HERMANN                              f            _                                                                                                        Blood            Bank and Transfusion                  Service


          Laboratory


               6411   Fannin.        Ste.    8450               Houston        TX.    77030




               PATIENT                 TYPE                 A         PGS
               PATIENT                 ANTIBODIES                                                                                                                                                                                                       PATIENT           WALTER.           KEVIN

               SPEC           t        99-012-2530                                                                                                                                                                                                      MED    PEC        00000 9652590
               DONOR            TYPE               A            POS                                                                                                                                                                                     DOCTOR.           DUKE      JAMES       H.       TRAU
               DONOR            ANTIGENS                                                                                                                                                                                                                AGE       24      SEX       M

               COMPONENT                          RBC                                                                                                                                                                                                   NURSING        STATION               GSUR

               DONOR            f        5533161
               CROSSHATCH                         INIERP                         COKPAT

               TECH             LISSAR              DATE 01/12/99   TIME                                                1754



                                                                                                                                                                                                       V
               CROSSKATCH                         EXPDATE  01/15199

                                                                                                             DATE                                      BEGAN                            TIME    COMPLETE
 Pri or         to transfusion            we have verified that                                                                             TIME


                                                                                                                                                       O
                                                                                                        I


 1.               Blood

                  blood
                                group       and  unit

                                        label match
                                                       number on                                                         _                                                               ME      i/
                                                                                                                                                                                                                                                                       . 4c.e ý.
                               bag                    this
                                                                                                                                                                                                                                          Screen
                                                           original

                  Slip.                                                                                       VS         PRE-INFUSION                       AFTER                15 MIN.        POST         INFUSION     Antibody
                                             on        blood          bag     matches                                                         y                                                  PS
                                                                                                                                                             100
 2.               Duplicate          tog
                  this


                  name
                          original
                               6 number.
                                            lab    slip     including            patient                      T                  oO            1




                                                                                                                                                                                                             Z
                  Patients       name             and       nu        be      on wrist
                                                                                                                                                                                 Q
 3.


                 band
                  blood
                              matches
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SI             ATURE
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SI             ATURE
                                                                                                                         REACTION                                            BY

                                                                                                                         COMPLETE             TRANSFUSION
                                                                                                                         REACTION             REPORT


HL         _   319                                                                                      ET JRN UNUSED                                                        ELOO63 WIT HM 30 MINUTES

      P


                          ARM                                   .I                ý            c.       .n..ýt.              T                      r.--
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     1807             87/73




                                               Witillairm
                                              Lwý
                       BLOOD BANK                               TRANSFUSION                                            SERVICE                                                              Hermann             Hospital

      I                               Hermann           Hospital                Houston                       Texas


                                                                    L.--                                                                                                                         9010
          Diagnosis                 J-              /                                                                                                                                 96 92549 0
                                      Routine                                    Pre-Op                                                    In   Extremis
                                                                                                                                                                                              KEVIN
                                                                                                                                                                                      WALTER
               Stat                                                                                                                I




                                                                                                                                                                                                 DOB                                             05/14/74
          CONSENT        HAS BEEN         OBTAINED                                   YES                                   NO                                                         BM Age 24y
                                                                                                                                                                                                                                                  01/10/99
                                                                                                                                                                                      Visit/Admit Dt
                                                                                 I                                 I




          DATE OF SURGERY


          Call When      Ready
                                     ý       YES            l   I
                                                                        NO               EXT


                                                                                                                                                        INSTRUCTIONS
                                                                                                                                                                                        I




          1.   Only accurately         labeled      samples                  will            be accepted.                                  Patient           name              hospital         number date          initials       of       person           collecting              specimen.

          2.   A freshly drawn sample is                        required                 every            3    days                for      crossmatching                       red    blood      cell    transfusions.

                                                                                         and send remainder of form                                                       to   Transfusion            Service      with blood                specimen.
          3.   Keep    original for the        patients                  chart

          4.   INFORMED CONSENT                    IS       REQUIRED.


                                                                                                     REQUEST FOR BLOOD COMPONENTS

          EMERGENCY RELEASE                                         In      consideration                                          of      the          critical               condition             of this       patient               I

                                                                                                                                                                                                                                                 request               the       immediate release

                                                                    of blood/blood                                         compone                                   s   fo      tra            usion      without          compatibility                                  testing.

                                                                                                                                                                                            i




                                                                                                                                                                               Person            A    thorized         by                        Ician                       Da a/Time
                         Physician


                                                            RED CELLS                                                                                                                                                                PLATELETS

                                                        2           3       4                    6                 8               9        10          11                            Indication         Code      circle                    2        3       4        5     6    7
                        Code        circle                                               5                                                                                                                                      1
          Indication                           1




      Type       and   cross    match                   UNITS               OR                            mL Pediatric                              Patient              only                    DOSE Adult dose                     6 units



      Current Hct         23.   L%       Hgb                         g/dL
                                                                                                                                                                                                 PHERESIS          PLATELET Single Donor                                     equivalent                   to      6-8 random

                                                                                                                                                                                                     donor units

      SPECIAL          CIRCUMSTANCES                    requires                     a   second                indication                           code
                                                                                                                                                                                                 UNITS        Pediatric     patient

                                                                                 code                circle                            2        3
                 Leukocyte-reduced                  Indication                                                             1                        1




                                                                                                                                                                                      Current        Platelet      Count

                 CMV Negative                Indication              code            circle                    1       2           3       4        5   6        7   1




                                                                                                                                                                                      SPECIAL         CIRCUMSTANCES                          requires              a   second             indication                  code
                 Irradiated     I
                                     Indication         code             circle                  1        2    3       4               5    6       7    8   1




                                                                                                                                                                                                 Leukocyte-reduced                       Indication                code          circle               1       2       3   1




                 Washed         Indication         code             circle                   1       2    1




                                                                                                                                                                                                 CMV negative              indication                 codecircle                      1       2       3       4       5       6       7   1




                 Other
                                                                                                                                                                                                 Irradiated         Indication           code             circle             1    2       3       4       5       6       7       8   1




                                                                                                                                                                                                 Other



                                             CRYOPRECIPITATE                                                                                                                                                                                     PLASMA

                                                                3       4                6                                                                                            Indication         Code circle                         2    3       4
      Indication       Code     circle         1        2                    5                                                                                                                                                  1




                 DOSE Adult dose                    6 units                                                                                                                                      UNITS        OR            mL Pediatric                          Patient        only



                                                                or fibrin                glue
                                                                                                                                                                                      Current        PT                PTT
                 UNITS     Pediatric         Patient




      Current        Fibrinogen                     mg/dL


                                                                                                                                            TRANSFUSION                                         ORDER

      Date       /   Time                                       L            G1                                                            -t



00
Clý                                                                                                      blood     products.
          he patient has consented           to the administration.of



7                                              ORDERING                     PHYSICIAN                         SIGNATURE
                                                                                                                               -
                                                                                                                                                                                                          t     ýý              PAGER                              c             ý                        Date            I   ýZ
IT
       HERMANN
             HOSPITAL                                                PROFESSIONAL  SERVICES  PROVIDED               BY
     ARTMENT   RADIOLOGY
                    OF                                                   DEPARTMENT OF RADIOLOGY
  TEXAS MEDICAL  CENTER                                                  THE UNIVERSITY   OF TEXAS
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      713 797-2800                                                                 HOUSTON      TX 77030
     713      793-5344      FAX                                                       713      792-5235



PT    NAME.    ALTER        KEVIN                                    ORDD     BY DUKE         JAMES    H.    TRAUMA
DOB     05/14/1974           AGE        24    SEX     M              DT   PERF 01/15/99  AT    0945                HRS.
MR      9695490           9010          STATUS        IA             REQUISITION   NO 01253928
                                                                     MED RECORDS   CHART COPY
N/S  GSUR .M/B  J602                     OR VISIT         CLINIC
INDICATIONS GENERALIZED                  ABD PAIN

EXAMS         PERFORMED          CT   CHEST   W/CM

CHEST CT 01/15/99
REASON FOR STUDY                 Evaluate     right       pleural   fluid   collection.

IMPRESSION
1.   Improvement in the right hydropneumothorax with a small amount
of loculated fluid and air seen laterally.
2.   Probable loculated fluid and air in the major fissure with a
necrotic parenchymal pneumonia thought less likely.
     Imp..-d aeration in both lung bases with minimal subsegmental
  _electasis   persisting..
4.    Improved right upper lobe pneumonia.
5.    Query right hepatic   lobe pseudoaneurysm versus                             venous    fistula
as   discussed.

THORACIC
                             7 mm thick transaxial enhanced helical CT
              CT.
TECHNIQUE           Seven
images     were     obtained
                       from the lung apices down.to the diaphragm
utilizing  a  pitch of 11.   Comparison is made to an earlier study
dated 12/12/98.
FINDINGS     Since earlier the same day the right pleural fluid has
decrease      There is however   a small lateral component  with
several        of air within this and this is thought to be
loculated.          The  thoracotomy tube remains in place.
                          right                                 A fluid
and air collection       seen in the right midlung and this appears to
                                 is




Ill-defined
conform to the location of the major fissure and likely represents
loculated luid and this also contains several foci of air
collections.    There is improved aeration in the lung bases
bilaterally with minimal subsegmental      atelectasis persisting.
         opacity in the right lung apex has decreased in size and is
compatible with resolving inflammation/infection.
A small bore pigtail catheter is now located in the previously
noted heterogeneous   right hepatic   lobe mass.   There now   however
appears  to  be a central  area  of enhancement  within this defect

                                              READ    RADIOLOGIST
ATTN MD DUKE JAMES H.   TRAUMA-                          RESIDENT
APPROV RAD                                                -  RESULTS         RECD           99/01/15        1548
RESULTS APPROVED 01/15/99   0945                             RESULTS         READ
                                                      PAGE    1
        HERMANN HOSPITAL                             PROFESSIONAL   SERVICES PROVIDED    BY
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        713 797-2800                                          HOUSTON   TX 77030
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  PT   NAME  WALTER   .KEVI                          DT PERF 01/15/99  AT   0945        HRS.
 MR      96925490   9010                             REQUISITION NO 01253928

 raising the possibility of a venous fistula versus pseudoaneurysm.
 This fin141.-ig was discussed with Dr. Allen Cohen in the
 IntervenL.ional   Department of Radiology.  The upper abdomen is
 otherwise    unremarkable.




                                     READ   RADIOLOGIST
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 APPROVING    RAD                                  RESULTS   RECD   99/01/15   1548
     ULTS APPROVED       01/15/99    0945          RESULTS   READ
1x..48 01/15/99   FROM   HDRDRLF2_
A8279704
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  713 793-5344 FAX                                     713 792-5235


PT NAME WALTER     KEVIN                    ORDD BY      DUKE      JAMES   H. TRAUMA
DOB 05/14/1974      AGE    24     SEX   M   DT   PERF   01/15/99      AT    0945  HRS.
MR   96925490    9010      STAT




        a-
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      713    793-5344       FAX                                                      713     792-5235



PT    NAME     WALTER       KEVIN                                   ORDD      BY DUKE        JAMES        H.    TRAUMA
DOB     05/14/1974           AGE         24  SEX      M             DT   PERF 01/12/99 AT    1845                     HRS.
MR      96925490          9010           STATUS       IA            REQUISITION  NO 01252158
                                                                    MED RECORDS   CHART COPY
N/S   GSUP RM/BD  J602                    OR VISIT       CLINIC
INDICATIGý7S  GENERALIZED                 ABD PAIN

EXAMS          -ýr.FORMED        CHEST    2   VWS   PA     LAT


PA AND LATERAL CHEST RADIOGRAPHS  01/12/99
CLINICAL HISTORY    Generalized abdominal pain                              placement      of    a
chest     tube.


IMPRESSION
1.     There      is   new placement        of a right-sided  lateral chest tube
which    extends        into an area        that contains a loculated pneumothorax.
2.     Large      right   pleural        effusion.


 MMENT             PA and    lateral chest          radiographs      are    submitted      dated
01/12/99
There ha.       interval removal of nasogastric and left subclavian
                  been
lines.   There has been interval placement   of a right-sided chest
drain inte the lateral aspect   of  the right pleural compartment.     It
is within a space  that contains   a pneumothorax  which is loculated.
Other portions of the right lung show a pleural effusion but it        is
uncertain if  this is also loculated.    Decubitus  films may be of
assistance  in better defining the possibility of further
loculations.
There  are two other drains  one of which overlies the superior
portions of the right liver.   The exit site is anterior.  The left
and thirddrain on this film appears to be subphrenic    and exits
laterally.
The visualized portions of the left lung show a metallic fragment
most likely  a bullet   overlying the medial aspects of the left
clavicle.   The left lungg is otherwise clear.  The cardiovascular
silhouett. is difficult   to assess on the right side but the left
side shows a heart size that is upper limits of normal.
This    rep-c1_L    was dictated  by a Radiology resident/fellow.   The
images      and    the contents  of the report were personally reviewed                              by
an attending           physician.




                                               READ   RADIOLOGIST
ATTN MD DUKE JAMES H.   TRAUMA.                            RESIDENT
APPROV RAD                  -                                     RESULTS    RECD       99/01/13               1757
RESULTS APPROVED 01/12/99     1845                                RESULTS    READ
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 PT    NAME   WALTER        KEVIN            DT PERF 01/12/99  AT    1845           HRS.
 MR      96925490       9010                 REQUISITION NO 01252158




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                                 RADIOLOGIST
 ATTN MD DUKE JAMES H. TRAUMA       RESIDENT
 iPPROVING RAD                           RESULTS   RECD         99/01/13     1757
   ZSULTS APPROVED 01/12/99 1845         RESULTS   READ
1157   01/13/99      FROM      HDRDRLF2_
A8279348                                                          -
    HERMANN HOSPITAL                                                PROFESSIONAL   SERVICES PROVIDED     BY
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  713 793-5344 FAX                                                             713 792-5235


PT    NAME  WALTER   KEVIN                                          ORDD BY     DUKE JAMES H. TRAUMA
DOB    05/14/1974     AGE            24  SEX        M               DT   PERF 01/11/99  AT   1325. HRS.
MR     96925490    9010              STATUS         IA              REQUISITION   NO 01251925
                                                                   .ME RECORDS    CHART COPY
N/S    GSU    M/BD         J602       OR VISIT          CLINIC
INDICATIONS            GENERALIZED    ABD PAIN

EXAMS


24-year-old
             PERFORMED       CT    ABDOMEN    W/O       CM


CHEST CT 01-11-99
INDICATION    Evaluate  chest tube placement. Patient is a
     Black male status post gunshot wound with chest tube placed                                for
drainage as well as intrahepatic catheter to drain a fluid
collection  in the liver.


IMPRESSION
1.    Succ     --ful    placement     of a liver             drainage catheter.
      Mispia.ced       chest tube     catheter.              The catheter is within    the
  abcutaneous tissue.
3.   No change in the             position    of    the       subdiaphragmatic    catheter.

TECHNIQUE       Axial CT images of the chest were obtained at 10 mm
 intervalst     The images were then displayed in soft tissue windows
and in lung windows.
 FINDINGS      The study shows that the patient has a large collection
of fluid within the liver.         There is contrast within this fluid
collection.      In addition    the drainage catheter is seen entering
the patients right mid axillary line entering into this liver
collection.      The patient  also has a drainage catheter entering near
the patients midline.        This catheter appears to be within the
subdia.phrgmatic space.       The patient had a posterior right
loculatecx   fluid collection on CT scan dated 01-10-99.           This
collecticn     is no longer  evident.    However the chest tube drainage
catheter is seen to be coiled in the soft tissue.             The patient has
basilar .-.r.electasi   as well as fluid collection       still   in the
subhepatic region.      In  addition    the  patient  has  mild  to  moderate
fluid   with  a  combination  of  pleural thickening along      the  right
lateral chest wall.                                                  0




This report was dictated by a Radiology Resident/Fellow.              The
images and the contents      of  the  report  were  personally   reviewed  by
an Attending Physician.



                                RADIOLOGIST  READ
ATTN MD DUKE JAMES H.  TRAUMA.     RESIDENT
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RESULTS  ROVED   01/11/99  1325        RESULTS                             READ
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 PT   NAME WALTER   KEVIN                       DT PERF 01/11/99  AT   1325        HRS.
 MR    96925490   9010                          REQUISITION NO 01251925




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  PROVING RAD                                 RESULTS   RECD   99/01/12   1625
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1625 01/12/99  FROM
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PT    NAME   WALTER      KEVIN                                ORDD BY DUKE               JAMES   H.    TRAUMA
DOB    05/14/1974        AGE         24  SEX     M            DT   PERF       01/11/99      AT      1325     HRS.
MR     96925490       9010           STATUS      IA           REQUISITION        NO      01252001
                                                              MED RECORDS         CHART      COPY
N/S  GSUR RM/BD  J602                 OR VISIT    CLINIC
INDICATIONS  GENERALIZED              ABD PAIN

EXAMS        PERFORMED       CT    GUIDE/CYST    ASPIRAT     CHEST

CT-GUIDED CHEST TUBE DRAINAGE PLACEMENT   01-11-99
INDICATION   Patient is a 24-year-old Black male status post
gunshot wound who had a chest tube placed within the right pleural
space whch no longer is in its proper position.
PHYSICIANS   Dr. Pong and Dr. Cohen.   Dr. Cohen was present
 throughout the procedure.
 PROCEDUI-     After obtaining informed consent          the patient was laid
 supine  on  the  CT  table.   An  area  was  chosen  along the patients
  ight  mid clavicular    line  for  percutaneous    access.   This area was
   .ie sterilized and draped.       Under CT guidance      a needle was placed
 into the right pleural fluid collection.          Through this access    site
a wire was    placed through    the  hub  of the  needle.    This was
exchanged   for an 8-French dilator and eventually          an 8-French
drainage catheter was placed in the pleural fluid collection.              CT
images show proper placement        of the catheter.      There were no
complications from the procedure.          The patient left    the Angiography
Suite in good condition.
COMPLICATIONS       None.
MEDICATE          The patient received Versed and Fentanyl for
conscious   sedation.
This report was dictated by a Radiology Resident/Fellow.              The
images and-the contents      of the report were personally reviewed by
an Attending     Physician.




                                          READ   RADIOLOGIST
ATTN MD DUKE JAMES            H.     TRAUMA.          RESIDENT
APPROV                                                      RESULTS    REC D       99-/01/12          1625
RESULTS APPROVED 01/11/99                 1325              RESULTS    READ
                                                 PAGE   1
     HERMANN HOSPITAL                                     PROFESSIONAL  SERVICES PROVIDED           BY
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 PT    NAME   WALTER      KEVIN                           DT PERF 01/11/99  AT  1325               HRS.
 MR      96925490      9010                               REQUISITION NO 01252001
                               a-READ




                                                 RADIOLOGIST
ATTN     MD     UKE      JAMES   H.      TRAUMA     RESIDENT
  -IPROVIh.    RAD                                       RESULTS   RECD         99/01/12    1625
   SULTS APPROVED             01/11/99      1325         RESULTS   READ
1626
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PT   NAME WALTER       KEVIN                                 ORDD BY      DUKE JAMES H. TRAUMA
DOB    05/141974       AGE        24     SEX   M              DT PERF   01/11/99  AT   1325 HRS.
MR     96925490     9010          STATUS       IA             REQUISITION   NO 01252001
                                                             .ME RECORDS    CHART COPY
N/S  GSUR RM/BD  J602              OR VISIT        CLINIC
INDICATIONS  GENERALIZED           ABD PAIN

EXAMS      PERFORMED       CT   GUIDED   ASPIRATION     OF   CHEST

 CT-GUIDED CHEST TUBE DRAINAGE             PLACEMENT     01-11-99
 INDICATION        Patient  is   a  24-year-old      Black  male status post
gunshot    wound    who had   a  chest     tube  placed   within   the right pleural
 space   which    no longer   is   in   its  proper position.
 PHYSICIANS        Dr. Pong and Dr.        Cohen.    Dr.  Cohen was present
 througho. the procedure.
 PROCEDURE        After obtaining informed consent             the patient was laid
 supine on the CT table.           An area was      chosen  along the patients
     tht mid clavicular     line for percutaneous          access.    This area was
 --.an sterilized and draped.            Under CT guidance        a needle  was placed
 into the right pleural fluid collection.                 Through this access    site
a wire was placed       through the hub of the needle.              This was
exchanged     for an 8-French dilator and eventually an 8-French
drainage    Catheter    was placed        in the pleural fluid collection.        CT
images    show   proper  placement       of  the  catheter.     There  were  no
complications from the procedure.                The patient    left  the Angiography
Suite in good condition.
COMPLICJ       INS    None.
MEDICATI_5          The patient     received Versed and Fentanyl for
conscious     sedation.
This report was dictated           by a Radiology Resident/Fellow.           The
images    and
            -
                the. contents    of   the   report   were  personally   reviewed  by
an Attending Physician.




                               READ RADIOLOGIST
ATTN MD    JKE_
                JAMES H.   TRAUMA-     RESIDENT
APPROV RAD                                 RESULTS                   RECD     99/01/12       1625
RESULTS APPROVED    01/11/99   1325        RESULTS                   READ
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 MR     96925490      9010                      REQUISITION    NO      01252001




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1626 01/12/99
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               FROM
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          713 797-2800                                                     HOUSTON    TX 77030
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    PT    NAME   WALTER   KEVIN                                 ORDD   BY DUKE       JAMES   H.    TRAUMA
    DOB     05/14/1974     AGE       24    SEX     M            DT PERF 01/11/99  AT    1045             HRS.
    MR      96925490    9010         STATUS        IA           REQUISITION NO 01252023
                                                                MED RECORDS CHART COPY
    N/S    GSUI.     RM/BD   J602     OR VISIT      CLINIC
    INDICATIONS        GENERALIZED    ABD PAIN


    EXAMS        PERFORMED     ABSCESS    DRAINAGE      LIVER

    ABDOMINAL   DRAINAGE   IN THE    PATIENTS LIVER
     INDICATION     The  patient   is  a 24-year-old Black        male status post
    gunshot   wound  with  a  fluid   collection     within   the  liver.
    PHYSICIANS      Dr.  Pong  and   Dr.  Cohen.
    PROCEDURi     Under ultrasound guidance           an area was chosen    along the
    patients right axillary        line   for  percutaneous     access.   This area
    was then ý..erilized and draped.          1%- lidocaine solution was used for
    local anzsthetic.      A  small   skin  incision    was made to the patient
      -in.  Under ultrasound guidance          an 18-gauge needle was placed
       .anshepaticl    into the liver fluid collection.            A wire was placed
    into the collection.       Contrast instillation        insured proper
    placement of the needle.        Using Seldinger technique          this was
    exchanged   for an 8-French dilator and eventually             for an 8-French
    all-purpose drain catheter.          Old blood was aspirated from the
    collection.     The catheter was pigtailed and sutured to the
    patients       skin.
    COMPLICATIONS        None.
    MEDICATIONS        The patient received Versed and Fentanyl for
    conscioup    Eedation.
    FOLLOW-r        The patient is to have follow-up CT to evaluate.
    This repuit was dictated by a Radiology Resident/Fellow.         The
    images  and-  the.. contents of the  report were personally reviewed                by
    an   Attending     Physician.




t
                 -               READ RADIOLOGIST
    ATTN MD  DUKE JAMES H.   TRAUMA      RESIDENT
                                               -




    APPROV RAn                               RESULTS                   RECD     99-/01/12         1626
    RESULTS   PROVED  01/11/99   1045        RESULTS                   READ
                                                   PAGE   1
     HERMANN HOSPITAL                               PROFESSIONAL  SERVICES PROVIDED     BY
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      713 793-5344 FAX                                          713 792-5235

 PT   NAME.  .VI-LTE   KEVIN                        DT PERF 01/11/99  AT    1045       HRS.
 MR     96925490     9010                           REQUISITION NO 01252023




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 ATTN  MD DUKE      JAMES   H.     TRAUMA     RESIDENT
  PPROVINr- .k                                     RESULTS   REC D   99/01/12   1626
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1627 01/12/99   FROM    HDRDRLF2.
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       HERMANN HOSPITAL                                               PROFESSIONAL   SERVICES PROVIDED   BY
      ARTMENT OF RADIOLOGY                                                DEPARTMENT   OF RADIOLOGY
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 HOUSTON    TX 77030-1501                                                 6431 FANNIN    SUITE 2.132
       713 797-2800                                                            HOUSTON   TX 77030
      713        -5344     FAX                                                   713 792-5235


 PT   NAME   WALTER   KEVIN                                          ORDD BY     DUKE JAMES H.  TRAUMA
DOB     05/14/1974     AGE            24     SEX      M              DT PERF 01/11/99    AT   1045  HRS.
MR      96925490    9010              STATUS          IA             REQUISITION   NO 01252023
                                                                     MED RECORDS   CHART COPY
N/S  GSUR RM/BD  J602                  OR VISIT           CLINIC
INDICATIONS  GENERALIZED               ABD PAIN

EXAMS        PERFORMED      DRAINPERITONEL                ABSTRNSABDOM       M

ABDOMINAL   DRAINAGE  IN THE    PATIENTS LIVER
INDICATION      The patient   is  a 24-year-old   Black male status post
gunshot wound    with a  fluid   collection   within  the liver.
PHYSICIANS      Dr. Pong  and  Dr.  Cohen.
PROCEDURE     Under ultrasound guidance        an area was chosen along the
patients right axillary line for percutaneous            access.   This area
was their .3cerilize and draped.        1s lidocaine    solution was used for
local anesthetic.     A small skin incision was made to the patient
   in.  Under ultrasound guidance        an 18-gauge   needle was placed
 ._-anshepaticl into the liver fluid collection.           A wire was placed
into the collection.      Contrast instillation      insured proper
placement   of the needle.     Using Seldinger technique        this was
exchanged   for an 8-French dilator and eventually for an 8-French
all-purpose drain catheter.        Old blood was aspirated from the
collection.    The catheter was pigtailed and sutured to the
patients        skin.
COMPLICATIONS            None.
MEDICATIONS          The   patient         received       Versed    and Fentanyl    for
consciov        -edation.
FOLLOW-Ul.       patient is to have follow-up CT to evaluate.
                  The
This report      dictated by a Radiology Resident/Fellow.
                  was                                         The
images and-the. contents of the report  were personally  reviewed                           by
an Attending Physician.




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ATTN MD       DUKE      JAMES    H.   TRAUMA.               RESIDENT
APPROV                                                             RESULTS   RECD    99/01/12    1626
RESULTS      APPROVED       01/11/99          1045                 RESULTS   READ
                                                      PAGE    1
      HERMANN HOSPITAL                           PROFESSIONAL   SERVICES PROVIDED         BY
     ARTMENT OF RADIOLOGY                            DEPARTMENT   OF RADIOLOGY
    TEXAS MEDICAL CENTER                             THE UNIVERSITY OF TEXAS
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  HOUSTON   TX 77030-1501                            6431 FANNIN    SUITE 2.132
        713 797-2800                                      HOUSTON TX 77030
    713 793-5344     FAX                                    713 792-5235


  PT   NAME.   ALTER     KEVIN                   DT PERF 01/11/99  AT   1045             HRS.
  MR     96925490      9010                      REQUISITION NO 01252023




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  PROVING   AD                                 RESULTS   RECD   99/01/12       1626
   SULTS ilPROVED   01/11/99     1045          RESULTS   READ
1627 01/12/99  FROM HDRDRLF2_
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        HERMANNHOSPITAL                                            PROFESSIONAL  SERVICES  PROVIDED              BY
      ARTMENT    RADIOLOGY
                  OF                                                   DEPARTMENT OF RADIOLOGY
   TEXAS MEDICAL    CENTER                                             THE UNIVERSITY   OF TEXAS
        641.1 FANNIN                                                  MEDICAL SCHOOL AT HOUSTON
 HOUSTON    TX 77030-1501                                              6431 FANNIN   SUITE 2.132
       713 797-2800                                                            HOUSTON    TX    77030
      713     7cn-5344      FAX                                                   713    792-5235



 PT    NAME   WALTER       KEVIN                                   ORDD    BY     DUKE   JAMES      H.    TRAUMA
 DOB     05/14/1974         AGE        24     SEX     M            DT   PERF 01/11/99  AT    1045               HRS.
 MR      96925490        9010          STATUS         IA           REQUISITION   NO 01252023
                                                                   MED RECORDS   CHART COPY
 N/S    GSUP.    RM/BD     J602            OR VISIT    CLINIC
 INDICATIONS           GENERALIZED         ABD PAIN

 EXAMS        PERFORMED         SINGLE      VIEW   ABDOMEN   -VASCULAR

 ABDOMINAL   DRAINAGE   IN THE PATIENTS       LIVER
  INDICATION     The patient is a 24-year-old Black male status post
 gunshot wound with a fluid collection within the liver.
 PHYSICIANS      Dr. Pong and Dr.      Cohen.
 PROCEDUR      Under ultrasound guidance          an area was chosen   along the
 patients    right   axillary   line   for  percutaneous   access.   This  area
 was then terilized and draped.            10 lidocaine solution was used for
 local anesthetic.      A small skin incision was made to the patient
   7in.  Under ultrasound guidance          an 18-gauge   needle was placed
    _anshepaticly  into   the liver    fluid  collection.    A wire was placed
 into the collection.       Contrast instillation      insured proper
 placement of the needle.         Using Seldinger technique       this was
 exchanged   for an 8-French dilator and eventually          for an 8-French
 all-purpose drain catheter.         Old blood was aspirated from the
 collection.     The  catheter   was pigtailed and sutured to the
 patients        skin.
 COMPLICATIONS    None.
 MEDICATIONS    The patient received Versed and Fentanyl for
 conscious  sedation.
 FOLLOW-l.    The patient is to have follow-up CT to evaluate.
 This repuit was dictated by a Radiology Resident/Fellow.    The
 images and-the contents  of the report were personally reviewed                               by
 an   Attending        Physician.




                                              READ    RADIOLOGIST
ATTN MD         DUKE     JAMES    H.   TRAUMA.             RESIDENT
APPROV RAn                                                       RESULTS   RECD      99/01/12            1626
RESULTS vROVED                  01/11/99       1045              RESULTS   READ
                                                      PAGE   1
     HERMANN  HOSPITAL                                  PROFESSIONAL  SERVICES PROVIDED    BY
   PARTMENT OF RADIOLOGY                                    DEPARTMENT OF RADIOLOGY
   TEXAS MEDICAL CENTER                                     THE UNIVERSITY   OF TEXAS
        6411 FANNIN                                        MEDICAL SCHOOL AT HOUSTON
 HOUSTON   TX 77030-1501                                    6431 FANNIN    SUITE 2.132
        713 797-2800                                             HOUSTON  TX 77030
      713 793-5344 FAX                                             713 792-5235


 PT   NAME  WALTER   KEVIN                             DT PERF 01/11/99  AT  1045         HRS.
 MR     96923490   9010                                REQUISITION NO 01252023




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 ATTN   MD DUKE       JAMES   H.    TRAUMA       RESIDENT
 PPROVING RAD                                         RESULTS   RECD   99/01/12   1626
  3SULTS   ROVED           01/11/99      1045         RESULTS   READ
1-627   01/.Lr/99   FROM           HDRDRLF2_
A8279162
     HERMANN   HOSPITAL                                                        PROFESSIONAL   SERVICES PROVIDED           BY
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   TEXAS MEDICAL CENTER                                                            THE UNIVERSITY   OF TEXAS
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       713 797-2800                                                                        HOUSTON      TX   77030
   713 793-5344 FAX                                                                          713       792-5235



 PT     NAME    WALTER        KEVIN                                            ORDD   BY DUKE     JAMES H. TRAUMA
 DOB     05/..4/1974          AGE       24    SEX        M                     DT   PERF 01/11/99    AT  1045  HRS.
 MR      96925490        9010           STATUS           IA                    REQUISITION  NO 01252024
                                                                               MED RECORDS   CHART COPY
 N/S  GSUR RM/BD  J602                  OR VISIT             CLINIC
 INDICATIONS  GENERALIZED               ABD PAIN

                                                                                                  Y
 EXAMS         PERFORMED        CHEST      TUBE    INSERTION-FLUORO                           -




 CHEST TUBE  DRAINAGE  AS WELL AS LIVER ABSCESS DRAINAGE  01-11-99
 INDICATION     Patient is a 24-year-old Black male status post
 gunshot wound.    The patient developed a right pleural effusion
 which appears to be infected.    In addition  the patient had a fluid
 collection within the liver which had a drain which was removed
 inadvert.nt ly

 IMPRESS Irj.
      Placement of an 8-French right chest tube.
      Successful placement  of an 8-French drainage                                   catheter        into   the
 liver collection.


 PHYSICIANS            Pong   and Cohen.           Dr.       Cohen       was    present    throughout        the
 procedure
 PROCEDURE           After    obtaining informed                consent the patient was laid
 on   his     left   side.     An area along the                patients back side was chosen
 just    to    right of the spine.
               the                       This place was chosen      for
percutaneous     access using   ultrasound    guidance.     The area was then
 sterilized and draped.      to  lidocaine    solution was used for local
anesthet-..     Under  ultrasound    guidance     an 18-gauge    needle was
 insertec    .t the right pleural       fluid  collection.     Purulent
material-was obtained.       A J-wire was placed into the collection.
This was-exchanged     for  an 8-French dilator.        Using Seldinger
technique     this was eventually exchanged        for an 8-French drainage
catheter.     The tube was connected      to external drainage and suction.
About 60 cc of serosanguinous        as  well  as purulent material was
obtained.
An area over the patients right mid axillary line was chosen for
percutaneous    access  for the liver collection        drainage.    This area
was sterilized and draped.         to lidocaine    solution was used for
local anesthetic.      A small skin incision was made.          Under
ultrasound guidance      an 18-gauge needle was placed         into the right
hepatic   fluid collection.      Old blood was aspirated from the

                                                  READ   RADIOLOGIST
..ATT    MD     DUKE     JAMES    H.    TRAUMA-                RESIDENT
APPROV RAD                                                               RESULTS      RECD        99/01/12         1627
RESULTS AROVED                  01/11/99          1045                   RESULTS      READ
                                                         PAGE        1
      HERMANN HOSPITAL                                        PROFESSIONAL   SERVICES PROVIDED    BY
    PARTMENT  OF RADIOLOGY                                        DEPARTMENT   OF RADIOLOGY
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  HOUSTON
         6411 FANNIN
            TX 77030-1501                   _                    MEDICAL SCHOOL AT HOUSTON
                                                                  6431 FANNIN    SUITE 2.132
        713 797-2800                                                   HOUSTON TX 77030
    713 793-5344 FAX                                                     713 792-5235


  PT   NAME WALTER   KEVIN                                    DT PERF 01/11/99  AT   1045        HRS.
  MR    96974.90   9010                                       REQUISITION NO 01252024
  collection.       A wire   was   advanced     into   the   collection.
                                                            Using
 Seldinger technique          thiseventually exchanged
                                      was              for an 8-French
 dilator and eventually   an 8-French all-purpose drain catheter.
 Contrast instillation  into  the collection  showed that it  was in. the
 proper position.
 COMPLICATIONS    None.
 MEDICATIONS    The patient received Versed and Fentanyl for
 conscious  sedation.
 FOLLOW-UP    The patient was sent for CT for follow-up to determine
 proper placement  of the tube.
 This repcx was dictated by a Radiology Resident/Fellow.     The
 images      the contents of the report were personally reviewed by
 an Attending  Physician.




                                         READ   RADIOLOGIST
 ATTN MD DUKE JAMES H.     TRAUMA                  RESIDENT
 PPROVING RAD                                                RESULTS   RECD   99/01/12   1627
  .SULT  7PPROVED 01/11/99     1045                          RESULTS   READ
1627    01/.   99   FROM           HDRDRLF2_
A8279163
    HERMANN HOSPITAL                                                   PROFESSIONAL  SERVICES PROVIDED           BY
  PARTMENT OF RADIOLOGY
  TEXAS MEDICAL  CENTER                                  _                 DEPARTMENT OF RADIOLOGY
                                                                           THE UNIVERSITY  OF TEXAS
       6411 FANNIN                                                        MEDICAL SCHOOL AT HOUSTON
HOUSTON   TX 77030-1501                                                    6431  FANNIN SUITE 2.132
      713 797-2800                                                               HOUSTON     TX   77030
   713 793-5344 FAX                                                                  713    792-5235



PT    NAME   WALTER       KEVIN                                        ORDD   BY DUKE       JAMES   H.    TRAUMA
DOB     05/14/1974         AGE       24   SEX       M                  DT PERF 01/11/99  AT    1045             HRS.
MR      96925490      9010           STATUS         IA                 REQUISITION NO 01252024
                                                                       MED RECORDS CHART COPY
N/S  GSUR R-4/BD  J602                OR VISIT CLINIC
INDICATIONS   GENERALIZED             ABD PAIN

EXAMS        PERFORMED       VASC    CHEST    SINGLE     VIEW      FRONT

CHEST TUBE  DRAINAGE AS WELL AS LIVER ABSCESS DRAINAGE   01-11-99
INDICATION     Patient is a 24-year-old Black male status post
gunshot wound.    The patient developed a right pleural effusion
which appears to be infected.    In addition  the patient had a fluid
collection. within the liver which had a drain which was removed
inadvert.2nily.

IMPRESS
       Placement of an 8-French right chest tube.
       Successful placement of an 8-French drainage                           catheter     into   the
liver    collection.


PHYSICIANS         Pong    and Cohen.         Dr.    Cohen       was   present   throughout       the
procedure.
PROCEDURE       After obtaining informed                 consent the patient was laid
on   his left   side.  An area along the                 patients back side was chosen
just   to the   right     of   the      This place was chosen
                                      spine.                       for
percutaneous   access  using   ultrasound   guidance.     The  area was then
sterilized and draped.     11i  lidocaine solution was used for local
anesthet       Under ultrasound guidance        an 18-gauge needle was
insertec     to the right pleural     fluid  collection.      Purulent
material.. was obtained.   A J-wire was placed into the collection.
This was-exchanged for an 8-French dilator.           Using Seldinger
             this was eventually     exchanged   for an 8-French drainage
technique
catheter.    The tube was connected      to external drainage     and suction.
About 60 cc of serosanguinous as well as purulent material was
obtained.
An area over the patients right mid axillary line was chosen for
percutanfous access for the liver collection drainage.     This area
was sterilized and draped.    1%- lidocaine solution was used for
local  anesthetic.  A small skin incision was made.    Under
ultrasound guidance   an 18-gauge needle was placed into the right
hepatic fluid collection.   Old blood was aspirated from the

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ATTN MD DUKE JAMES H.    TRAUMA-                         RESIDENT
APPROV RAJ
                -
                                                                 RESULTS      RECD       99/01/12        1627
RESULTS P ROVED   01/11/99   1045                                RESULTS      READ
                                                    PAGE     1



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 HOUSTON    TX 77030-1501                                      6431 FANNIN    SUITE 2.132
       713 797-2800                                                 HOUSTON   TX  77030
   713 793-5344 FAX                                                   713 792-5235


 PT    NAME    WALTER       KEVIN                          DT   PERF 01/11/99 AT   1045       HRS.
 MR      969.71    90   9010                               REQUISITION  NO 01252024

 collection.  A wire was advanced  into the collection.   Using
 Seldinger technique   this was eventually exchanged  for an 8-French
 dilator and eventually an 8-French all-purpose drain catheter.
 Contrast instillation  into the collection showed that it was in.the
 proper position.
 COMPLICATIONS      None.
 MEDICATIONS      The patient received  Versed and Fentanyl for
 conscious   sedation.
 FOLLOW-UP      The patient was sent for CT for follow-up to determine
 proper  placement   of the tube.
 This repr.r was dictated by a Radiology Resident/Fellow.       The
 images       the  contents of the  report were personally reviewed by
 an Attending Physician.




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 -PPROVING        RAD                                     RESULTS   RECD   99/01/12   1627
  SULTS       7\_PPROVED       01/11/99      1045         RESULTS   READ
1627    99 FROM
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     HERMANN HOSPITAL                                                      PROFESSIONAL   SERVICES PROVIDED       BY
   PARTMENT   OF RADIOLOGY                                                     DEPARTMENT   OF RADIOLOGY.
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       713 797-2800                                                                 HOUSTON   TX 77030
   713 793-5344 FAX                                                                   713 792-5235


PT    NAME      WALTER   KEVIN                                             ORDD   BY DUKE JAMES H. TRAUMA
DOB        05/14/1974     AGE             24     SEX M                     DT PERF   01/11/99  AT   1045 HRS.
MR         96925490    9010               STATUS         IA                REQUISITION   NO 01252024
                                                                           MED RECORDS   CHART COPY
N/S  GSUR RM/BD  J602                      OR    VISIT    CLINIC
INDICATIONS  GENERALIZED                   ABD    PAIN

EXAMS            PERFORMED         TUBE   THORACOST      W/WO    WAT       SEAL

CHEST TUBE DRAINAGE  AS WELL AS LIVER ABSCESS DRAINAGE    01-11-99
INDICATION    Patient is a 24-year-old Black male status post
gunshot wound.   The patient developed a right pleural effusion
which appears to be infected.     In addition  the patient had a fluid
collection within  the liver  which  had a drain which was removed
inadvertntly.

IMPRESS Ifl
        Placz--nent     of     8-French right chest tube.
                              an
    Successful           placement  of an 8-French drainage                       catheter    into   the
liver collection.

PHYSICIANS             Pong    and    Cohen.       Dr.   Cohen       was    present   throughout     the

procedure-PROCEDURE
                      obtaining informed consent
                      After                               the patient was laid
on his left            An area along the patients back side was chosen
                      side.
just to the    right of the spine.         This place was chosen for
percutaneous    access   using   ultrasound    guidance.     The area was then
 sterilized and draped.       1o  lidocaine solution was used for local
anesthetic.     Under ultrasound guidance          an 18-gauge   needle was
inserter     .t the right pleural fluid collection.             Purulent
material..wasobtained.       A J-wire was placed into the collection.
This was-exchanged     for an 8-French dilator.          Using Seldinger
technique     this was eventually exchanged         for an 8-French drainage
catheter.    The tube was connected to external drainage and suction.
About 60 cc of serosanguinous as well as purulent material was
obtained.
An area over the patients right mid axillary line.was chosen for
percutaneous    access for the liver-collection          drainage.   This area
was sterilized    and  draped.      10 lidocaine    solution   was used  for
local anesthetic.      A  small   skin   incision   was  made.   Under
ultrasound guidance       an 18-gauge needle was placed         into the right

hepatic   fluid collection.       Old  blood   was  aspirated from the

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ATTN MD DUKE JAMES H.    TRAUMA-                              RESIDENT
APPROV R4Z-                                                          RESULTS      RECD       99/01/12      1627
RESULTS APPROVED  01/11/99   1045                                    RESULTS      READ
                                                         PAGE    1
        HERMANN HOSPITAL                                            PROFESSIONAL   SERVICES PROVIDED            BY
      PARTMENT   OF RADIOLOGY                                           DEPARTMENT   OF RADIOLOGY
      TEXAS IvIEDICAL CENTER                                            THE UNIVERSITY   OF TEXAS
           6411 FANNIN                                                 MEDICAL SCHOOL AT HOUSTON
    HOUSTON   TX 77030-1501                                             6431 FANNIN    SUITE 2.132
          713 797-2800                                                       HOUSTON       TX   77030
      713 793-5344 FAX                                                             713    792-5235



    PT   NAME       WALTER     KEVIN                                DT PERF 01/11/99  AT   1045                HRS.
    MR     96925490          9010                                   REQUISITION NO 01252024

    collection.  A wire was advanced into the collection.     Using
    Seldinger technique   this was eventually  exchanged for an 8-French
    dilator and eventually an 8-French all-purpose drain catheter.
    Contrast instillation  into the collection  showed that it-.was in--the
    proper position.
    COMPLICATIONS    None.
    MEDICATIONS    The patient received Versed and Fentanyl for
    conscious sedation.
    FOLLOW-UP    The patient was sent for CT for follow-up to determine
             placement         of    the    tube.
    proper
    This report was dictated  by a Radiology Resident/Fellow.     The
    images a-- the contents  of the report were personally   reviewed                           by
    an   Atten..ng         Physician.




                                                    READ   RADIOLOGIST
    ATTN   MD DUKE           JAMES     H.    TRAUMA          RESIDENT
    .PPROVI.N       RAD                                           RESULTS   RECD         99/01/12       1627
ý .SULT         APPROVED            01/11/99   1045               RESULTS   READ
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A8279165
    HERMANN HOSPITAL                                              PROFESSIONAL   SERVICES PROVIDED           BY
  PARTMENT   OF RADIOLOGY                                             DEPARTMENT   OF RADIOLOGY
  TEXAS MEDICAL    CENTER                                             THE UNIVERSITY OF TEXAS
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HOUSTON    TX 77030-1501                                               6431    FANNIN    SUITE 2.132
      7r-    797-2800                                                         HOUSTON    TX 77030
     713        1j3-5344      FAX                                               713     792-5235



PT NAME WALTER                KEVIN                               ORDD   BY DUKE        JAMES   H.    TRAUMA
DOB 05/141974                  AGE     24    SEX   M               DT PERF 01/10/99  AT    0003             HRS.
MR     96925490          9010          STATUS      IA              REQUISITION NO 01251045
                                                                  .ME RECORDS CHART COPY
N/S  GSUR RM/BD  J602                   OR VISIT       CLINIC
INDICATIONS  GENERALIZED                ABD PAIN

EXAMS           PERFORMED       CT ABDOMEN      W/CM

ABDOMINAL CT 01-10-99
CLINICAL HISTORY  Rule                 out   abscess.


IMPRESSION
1.   Loculated right pleural fluid collection with an enhancing                             rim
which is -mot being drained by the right chest tube.
2.   Fluid collection in the right lobe of the liver with the
drainage catheter which has decreased in size since the prior
  -udy.
      Bullet       in   the    right   flank.


TECHNIQUE        mm cuts were obtained through the abdomen followed by
                    7

 10 mm       through the pelvis with the use of oral and IV contrast.
          cuts
FINDINGS Comparison is made to 12-26-98 study.                 The patient is
status post gunshot    wound   with   the   bullet  in   the  right flank.   The
right chest   tube  is present    with   a  loculated    pleural  fluid
collection just superior to the chest tube.              The second   drain is
             the right  lobe   of  the   liver  with   a  fluid collection
present
            -




measurin_  approximately 10 cm AP x 5 cm transversely.              This fluid
collection has decreased      in size and has become more confluent
since tht prior study.      It  has an enhancing       rim.    The remainder of
the liver-is   unremarkable.      The  spleen pancreas both kidneys and
both adren.tl glands are within normal limits.             Scarring versus
atelectasis are present in the right lower lobe.
This report was dictated by a Radiology Resident/Fellow.                The
images and the contents    of the report were personally reviewed by
an Attending   Physician.




                                READ RADIOLOGIST
ATTN MD-. _ -TKE JAMES H.   TRAUMA-     RESIDENT
APPROV RAD                                 -RESULTS                      RECD      99/01/10          1803
RESULTS APPROVED     01/10/99   0003        RESULTS                      READ
                                                       PAGE   1
     HERMANN HOSPITAL                                   PROFESSIONAL  SERVICES PROVIDED    BY
   PARTMENT   OF RADIOLOGY                                  DEPARTMENT OF RADIOLOGY
   TEXAS MEDICAL CENTER                                     THE UNIVERSITY   OF TEXAS
        6411 FANNIN                                        MEDICAL SCHOOL AT HOUSTON
 HOUSTON    TX 77030-1501                                   6431 FANNIN    SUITE 2.132
       713 797-2800                                              HOUSTON  TX 77030
      713     793-5344      FAX                                    713 792-5235


 PT    NAME  WALTER   KEVIN                             DT PERF 01/10/99  AT   0003       HRS.
 MR      96925490   9010                                REQUISITION NO 01251045




                                          READ RADIOLOGIST
ATTN     MD UKE          JAMES    H.   TRAUMA     RESIDENT
 PPROVIri      RAD                                     RESULTS   RECD   99/01/10   1803
  SULTS       APPROVED      01/10/99      0003         RESULTS   READ
1803                 FROM
HDRDRLF2-A8278783
        01/10/99
     HERMANN HOSPITAL                                               PROFESSIONAL   SERVICES PROVIDED   BY
   PARTMENT OF RADIOLOGY                                                DEPARTMENT   OF RADIOLOGY
   TEXAS MEDICAL CENTER                                                 THE UNIVERSITY   OF TEXAS
        6411 FANNIN                                                    MEDICAL   SCHOOL AT HOUSTON
 HOUSTON   TX 77030-1501                                                6431 FANNIN    SUITE 2.132
       713 797-2800                                                          HOUSTON   TX 77030
      713     7-5344        FAX                                                713 792-5235


 PT    NAME   WALTER        KEVIN                                   ORDD    BY DUKE    JAMES H. TRAUMA
 DOB     05/14/1974          AGE      24     SEX     M              DT   PERF 01/10/99    AT  0003  HRS.
 MR      9692590       9010           STATUS         IA             REQUISITION  NO 01251045
                                                                    MED RECORDS   CHART COPY
N/S   GSUR RM/BD  J602                 OR VISIT          CLINIC
 INDICATIONS  GENERALIZED              ABD PAIN

 EXAMS PERFORMED              CT    PELVIS     W/   CM

ABDOMINAL CT 01-10-99
CLINICAL HISTORY  Rule                out    abscess.


IMPRESSION
1.   Loculated right pleural fluid collection with an enhancing                           rim
which is not being drained by the right chest tube.
2.   Flu-%i-_i  ollection in the right lobe of the liver with the
drainage       catheter which has decreased in size since the prior
      udy.
        Bullet   in   the   right     flank.


TECHNIQUE        mm cuts were obtained through the abdomen followed by
                  7

 10 mm cuts through   the pelvis with the use of oral and IV contrast.
FINDINGS- Comparison is made to 12-26-98 study.        The patient is
status post gunshot    wound with the bullet in the right flank.     The
right chest   tube is present with a loculated pleural fluid
collection just superior to the chest tube.       The second drain is
present in the right lobe of the liver with a fluid collection
measurinr.iuproximately 10 cm AP x 5 cm transversely.       This fluid
collect_c.. has decreased    in size and has become more confluent
since the prior study.     It  has an enhancing  rim.  The remainder of
the live.-is   .unremarkable    The spleen  pancreas   both kidneys and
both adrenal glands are within normal limits.       Scarring versus
atelectasij are present in the right lower lobe.
This report was dictated    by a Radiology Resident/Fellow.    The
images and the contents    of the report were personally reviewed   by
an Attending Physician.




                                             READ    RADIOLOGIST
ATTN MD DUKE JAMES      TRAUMA H.                       RESIDENT
APPROV R-L_-                                                      RESULTS   RECD   99/01/10     1803
RESULTS APPROVED 01/10/99   0003                                  RESULTS   READ
                                                     PAGE    1
              HOSPITAL
        HERMANN                                           PROFESSIONAL   SERVICES PROVIDED       BY
  APARTMENT  OF RADIOLOGY                                     DEPARTMENT   OF RADIOLOGY
   TEXAS MEDICAL CENTER                                       THE UNIVERSITY   OF TEXAS
        6411 FANNIN                                          MEDICAL SCHOOL AT HOUSTON
 HOUSTON   TX 77030-1501                                      6431 FANNIN    SUITE 2.132
       713 797-2800                                                HOUSTON TX 77030
      713     93-5344      FAX                                       713 792-5235


 PT   NAME   I-LTER   KEVIN                               DT PERF 01/10/99  AT   0003        HRS.
 MR      96925490   9010                                  REQUISITION NO 01251045




                                         READ   RADIOLOGIST
 ATTN    MD    DUKE   JAMES      H.   TRAUMA       RESIDENT
 APPROVINI     .A                                       RESULTS   RECD   99/01/10    1803
  ESULTS       PROVED      01/10/99      0003           RESULTS   READ
x803 01/10/99       FROM   HDRDRLF2
A8278784                                   -




                                                                                            ýý   L
             DYNACARE                      HERMANN                                                                         Account     No.     959254909010

              Laboratory                   Services                                                                         Patient            WALTER. KEVIN
                                                                                                                                               0000096925.190
                            6411       Fannin                                                                              Pln.cician          1 UKE../-IAIES        H.   TRAU.AIA

             Houston         Texas           77030-1501                                                                    Location            GSUR      ./60   00

                        713            704-5227                                                                            Date   of   1irr6   Oi1-/4//074      igc       14   RS




    BODY     FLD/TISSUE                    CULT          W/GRAfN      ST    ACCESSION             99-013-1165              COLLECTED               13JAN99           0715
    SOURCE           BODY          F.UIDOTHER                                                                              RECEIVED                13JAN99           0734




    ------------GRAM
    ------------------
             STAIN
                                                  STAINS/PREPARATIONS
                                                                                                    01/13/99      1245                   -




      MANY WBCS
      NO ORGANISMS                     SEEN


    ---------------                        ---      PRELIMINARY              REPORT
                                                                                                                    0928
                                                                                           -------------------01/14/99


      NO GROWTH             AT         1    DAY




    WOUND/EXUDATE    CULT W/GRAM                                 ST         ACCESSION             99-013-1166              COLLECTED               13JAN99           0715
    SOURCE     WOUND                                                                                                       RECEIVED                13JAN99           0734
                                           E5T     TTJBE




    -------------------GRAM
              ............                        STAINS/PREPARATIONS
             STAIN                                                                                 01/13/99       1354
      AO     WBCS
      NO     SQUPSMOUS           EPITHELIAL                  CELLS
      NO ORGANISM                  SEEN

    -------------------                            PRELIMINARY               REPORT
                                                                                                                   0927
                                                                                          -------------------01/14/99


      FEW     STAPHYLOCOCCUS                         SPECIES               NOT   S.    AUREUS




    BODY FLD/TISSUE                        CULT      W/GRAM           ST    ACCESSION             99-011-2416              COLLECTED              11JAN99            1447
    SOURCE    PLET.                         FLUID                                                                          RECEIVED               11JAN99            1540




    -------------------GRAM
    -----------------                            STAINS/PREPARATIONS
          STAIN                                                                                    01/11/99      1756
      MANY WBC          s

      NO    ORGANISMS              EE
    ----------------------                                FINAL        REPORT
                                                                                      ----------------------01/14/99
                                                                                                                 1024
      NO    GROWTH          AT     2       DAYS




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                                                 01114     990     1.103

                                                                                                       CUMULATIVE-INTERIM
     Ui.c   Grrr   Dn                                                                                                                                                Conlinaec..
            DYNACARE HERMANN                                                                             .4ccou     No.    909754909010              1


             Laboratory        Services                                                                  Patient           WALTER.        KEVIN
                                                                                                                           0000096925490
                       6411    Fannin                                                                    Plmcician         D1KE..111AfE.S       H.       TRAWIA
            Houston     Texas       77030-1501                                                           Location          GSUR    .160    00

                    713       704-5227                                                                   Date   of Birth   0511411974      .4   e.       24   RS   Sex   Al




              NONE                                                            o          e               -
                                                                                                                o




BODY FLD/TISSTTF                CULT     W/GRAM           ST    ACCESSION         99-011-2405            COLLECTED            11JAN99            1445
SOURCE                                                                                                   RECEIVED             11JAN99           1533
                              LIVER ABSCESS

 ------------------                   STAINS/PREPARATIONS
GRAM        STAIN                                                                      01/11/99   1747
      FEW    WBCS        MANY PBCS
      RARE    GRAM      POSITIVE COCCI                   IN    PAIRS


----------------------                     FINAL              REPORT
                                                                       ----------------------01/14/99
                                                                                                  1024
      THIS          REPORT          CONTAINS         A   CORRECTION
     MANY GROUP D STREPTOCOCCUS   ENTEROCOCCUS
     NOTE THAT AMPICILLIN WAS CHANGED   FROM RESISTANT                                       TO
       SENSITIVE.


-------------                 ---     SUSCEPTIBILITY               TESTING
                                       ----------------STRENT
                               MIC     INTERP
A.  ..ILLI                                       S

GENTAMICIN          500                          S

STREP        1000                                S

VANCOMYC IrT                                     S




     r ned Date/lime                                                               -




                                    0111411999       1303                                                                                                            2

                                                                                         CUMULA TIVE-INTERIM
 Di.ccbne     .m                                                                                                                                Continuer..




             1111CROBIOLOGY                                                                                                                                              g ý/
        DYNACARE HERMANN                                                                   4t ocmt No.       9692   4919011         I


          Laboratcy        -Services                                                       Patient           W4LTER.      NEVIN
                                                                                                             0000096925490
                      6411 Fannin                                                          /7ncician         DUKE..L4AIE..S        H.   TRA.UA1.4

         Houston       Texas     77030-1501                                                Location          GSUR ./61        01

                     71 704-5227                                                           Date   olBirtlc   05/14/1974       let 24 R.5      Sea       if




 01/13/99                0715             WOUND/EXUDATE   CULT W/GRAM ST           99-013-1166                PRELIM
 01/13/99                0715             BODY FLD/TISSUE   CULT W/GRAM ST         99-013-1165                PRELIM
 01/12/99                1536             IMMEDIATE   SPIN CROSSMATCHT1250         99-012-3230                PROCES
 01/11/99                1.447            ANAEROBIC CULTURE                        99-011-2416                PRELIM
 01/11/99                1445             ANAEROBIC CULTURE                        99-011-2405                PRELIM
 01/10/99                0537             BLOOD CULTURE-AUTOMATED                  BC-99-00718                PRELIM
 01/10/99                0536             BLOOD      CULTURE-AUTOMATED             BC-99-00717                PRELIM.




Printed Date.Timc                11/14/1999   /303                                                                                                  3

                                                                         CUM ULA TI VE-INTERIM
  Discharge   Date                                                 -
                                                                                                                                   Earl of Report




                       PENDING
          DYNACARE                 HERMANN                                   Account    No.   9692549119010         1


             Laboratory            Services                                  Patient          WALTER         KE67N
                                                                                              00n0096925490
                        6411       Fannin                                    Plncicion        DUKE JAMES H. TRAUM.4
             Houston       Texas     77030-1501                              Location         GSUR    1602    00

                     713 704-5227                                            Date   41Birth   0511411974      Age       24   RS    Sex       t1




                                              01/11/99
                                                    0428

                                                                                                 REFERENCE                        UNITS
SODIUM                                                137                                         135-145                         MEQ/L
POTASSIUM                                             3.1                                         35-5..01                        MEQ/L
CHLORIDE                                               98                                         95-109                          MEQ/L
C02                                                    31                                        24-321                           MEQ/L
CREATININE                                            1.0                                        0.5-1.4                          MG/DL
BUN                                                        9                                     10-20                            MG/DL
GLUCOSE                                               107                                        65-1101                          MG/DL




L      nd
        it     of   Ref.       P.ange



     /Tinned   Dare lime                                                                 _

                                      01./14/1999    2138                                                                                1


                                                               SPLIT-CUMULATIVE
                                                                                                                    Continued..
    Di.crhurr   llanc




               rt1c4.IICTR     1                                                                                                                  l
            DYNACARE HERMANN                                                               .4czw      No.    9692549090/             I


               Laboratory         Services                                                 Potiem            WALTER. kE1JN
                                                                                                             0000096925490
                         6411     Fannin                                                   Plnxiciun         DUKE..I4A/ES           H.   TRUA4.4
               Houston.                   77030-1501                                       Location          GSUR       .160   00

                         7a s     704-5227                                                 Date   at Birth   n51419-4          .         241R.S       .Sc    At




                                                   01/11/99
                                                       0428

                                                                                                               REFERENCE                          UNITS

    HEMOPROFILE
    WBC    X    10x3                                       8.6                                                  4.8140.8                          /CMM
    RBC    X    10x6                                    2.76                                           -




                                                                                                                4.70-6.10                         /CMM
    HEMOGLOBIN                                             7.9                                                  14.0-18.0                         G/DL
    HEMATOCRIT                                          23.2                                                    42.0-54.0                         %

    MCV                                                 83.8                                                    80.0-94.0                         FL
                                                        28.6
    MCH                                                                                                         27.0-31.0                         PG
                                                        34.1
    MCHC                                                                                                        32.0-36.0                         %

    RDW                                                 15.9                                                    11.5-19.5                         %

    PLATELET         X   10x3                              433                                                  133-333                           /CMM
    MPV                                                    6.6                                                  7.4-10.4                          FL


    DIFFERENTIAL
    POLYS                                                  65                                                  43-84                              %

          HOCYTES                                          21                                                  12-421                             %
i         .CYTE                                            10                                                  1-13
    EOSINOPHILS                                               3                                                0-61
    BASOPHILS                                                 0                                                0    -   1




RBC MORPHOLOGY
PLT        ESTIMATE                                  INC   SL                                                  NORMAL




                                                   01/11/99
                                                       0428
                                                                                                               REFERENCE                          UNITS
PROTIME                     .                           13.4                                                   11.1-13.11                         SEC
INR                                                     1.23f

aPTT                                                    25.7                                                   25.0-34.01                         SEC




Legend
       Out      of   Ref.        Range         f
                                            Footnote
INR                               RECOMMENDED   RAI4GES FOR PROTIME INR
                                    2.0-3.0   for most medical  and surgical thromboembolic states.
                                    3.0.4.5   for artificial  heart valves and recurrent embolism.


      Primed    Daw/77nw

                                          01/14/1999     2138                                                                                           .
                                                                         SPLIT-CUMULA   TI VE
     Discharýc   Dale                                                                                                               Contitnard..




                            14    f   1      rDr r       COAGLILATIO.V                                                                                      G7
YNACARE                  HERMANN                                                                           Accvnrnr   No.   909254909010             i



                         Services                                                                          rurienr          I-.4LTER.      KEI       V
Laboratory
                                                                                                                            00001   96 92 5490


                411      Fannin                                                                            1hrsician        DUKE .I1AIE H. 7RdU11A
ioua...n.        has           77030-1501                                                                  Lortnion         GSUR    .160    00

          713           704-5227                                                                           DareoiBirrh      05141/974        Ue 24 RS            Sex   II




                                                                       BLOOD GROUP AND TYPE

                                     ABO/RH         TYPE
1/12/99                 1536              A   POS


                                                               ANTIBODY SCREENING            AND TESTING

                                    ANTIBODY SCREEN
1/12/99               1536             NEGATIVE




            DC._JOR          NUMBER                                 PRODUCT/BLOOD        COMPONENT                           TRANSFUSION                  DATE


          ---------------------------3526875
                                                                    -----------------------
                                                                     RBC                                                            01/13/99
                                                                     RBC                                                            01/12/99
          3533161




            -------3526875  NUMBER                                           XM   RESULT                                            XM     DATE
            -NOR
                                                                             -------
                                                                                  COMPAT                                            01/12/99
                                                                                  COMPAT                                            01/12/99
            3533161




CULTUF..              AUTOMATED                          ACCESSION          BC-99-00717                    COLLECTED           10JAN99               0536

        BLOOD                                                                                              RECEIVED            10JAN99               1008




 -----                       -. PRELIMINARY                REPORT
                                                                                             1302
                                                                    -------------------01/14/99


ROWTH            AT     4    DAYS




CULTURE-AUTOMATED                                        ACCESSION         BC-99-00718                     COLLECTED           10JAN99               x537
                                                                                                           RECEIVED            10JAN99               1009
        BLOOD




                               -    PRELIMINARY            REPORT
                                                                                             1302
                                                                    -------------------01/14/99


ROWTH                        DAYS




                                                    -                                                                                            -



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                                                                                                                                                                       3
                                   OI/a   1x99   21 38
                                                                                  SPLIT-CUMULA          TI VF
                                                                                                                                                         Continued..
  c   Iur

  RI    nirli     R.r   VV                                           BLOOD BANK            BLOOD BANK
NACAP. E              HERMANN                                                                    1   O      .\   96021490V01           1


iboratory             Services                                                                   r lien          tA LTER. KE-iV
                                                                                                                 000009692 490
              I   Fannin                                                                         1In.ciciai      1KE../.4A/F.S        H.       TR.4C.tL4
usti                       77030-1501                                                            Location        GSL R .160      00
                  704-5227                                                                       Dare of Buz/c   0514 P   174    i         24   7/S   Sex      .l




3/TISSUE  CULT W/GRAM                        ST   ACCESSION             99-013-1165             COLLECTED          13JAN99            0715
   BODY FLUIDOTHER                                                                              RECEIVED           13JAN99            0734



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-------------------%IN
      STAINS/PREPARATIONS
                                                                          01/13/99      1245                                -




qBC S
ANISI.            SEEN

...........                  PRELIMINARY           REPORT
                                                                                         0928
                                                                -------------------01/14/99


WTH      AT       1    DAY




UDATE CULT                 W/GRAM       ST        ACCESSION             99-013-1166             COLLECTED          13JAN99            0715
 WOUND                                                                                          RECEIVED           13JAN99            0734
              CHEST          TUBE




-------------------.IN
                           STAINS/PREPARATIONS
                                                                         01/13/99       1354
 3
A.MOUS        EPITHELIAL            CELLS
ANISMS         SEEN

----                  --     PRELIMINARY           REPORT
                                                                                         0927
                                                                -------------------01/14/99


APHYLOCOCCUS                  SPECIES          NOT    S.    AUREUS



/TISSUE           CULT W/GRAM            ST       ACCESSION            99-011-2416              COLLECTED          11JA.N99       1447
 PLEURA            FLUID                                                                        RECEIVED          11JAN99         1540



            ----           STAINS/PREPARATIONS
                                                                                        1756
                                                               -------------------01/11/99


-C S.
NISMS         SEEN

 ------           ------        FINAL        REPORT
                                                                                       1024
                                                           ----------------------01/14/99

TH     AT     3       DAYS




                                                                                                            -
                       01/1411999       213S
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                                                                            SPLIT-CUMULATIVE
nn                                                                                                                                    Cunlinucd..




                            A11rOr31OLOC
                                                                                                                                                               G
VACARE HERMANN                                                                                     Accoun0o.         909154909010              1


boratory                Services                                                                   Patient           lfALTER. KEVIN
                                                                                                                     00000        96 92 5490
                    Fannin
                I
                                                                                                   Phrcictnn         DUKE..ý414F.SH.               TR1UAIA
ustoc... exas                77030-1501                                                            Location          GSUR     .160      00

        7151        704-5227                                                                       Date   of Birth   05/14/1974        Age         24   RS      Sex     At




IC      CULTURE                                        ACCESSION          99-011-2416             COLLECTED              11JAN99             1447
       PLEURAL FLUID                                                                              RECEIVED               11JAN99             1540



                                PRELIMINARY             REPORT
                                                                            01/14/99      1319

WTH        AT       3        DAYS




/TISSUE   CULT                      W/GRAM       ST    ACCESSION     n    99-011-2405             COLLECTED             11JAN99              1445
  ABSCESS                                                                                         RECEIVED              11JAN99              1533
                LIVER           ABSCESS



-------------------11N
 -------                --     STAINS/PREPARATIONS
                   01/11/99                                                               1747
C      S    MANY             RBCS
RAM POSITIVE                        COCCI       IN    PAIRS


                --------              FINAL          REPORT
                                                                                          1024
                                                              ----------------------01/14/99

S REPORT                 CONTAINS           A   CORRECTION
OUP         - STREPTOCOCCUS   ENTEROCOCCUS
  AT       AMPICILLIN WAS CHANGED   FROM RESISTANT                                 TO
TIVE.


 ----------                   SUSCEPTIBILITY              TESTING
                               ----------------STRENT
                        MIC    117TERP
T IN                                    S

I IJ                                    S

00                                      S

IN                                      S




C CULTURE                                             ACCESSION          99-011-2405              COLLECTED            11JAN99               1445
 ABSCESS                                                                                          RECEIVED             11JAN99               1533
            LIVER              ABSCESS

-----------                    PRELIMINARY             REPORT
                                                                                           1320
                                                                  -------------------01/14/99


EROBES          AFTER           3    DAYS




tr T imr
                             01/14   7999    2138                                                                                                                   5

                                                                               SPLIT-CUMULATIVE
rJrnr                                                                                                                                        Cotttii         ed..




                               bll/1BIOLOG                                                                                                                                   71
    NACARE HERMANN                                                                                  4c   c   ounr   V   9625490Q010               I


    3boratory                  Services                                                             raienl              IVA L TER.         KE17.V
                                                                                                                        00000.96925-190
                   i   l   Fannin                                                                   Pill.               lUKE..1.4.41ES           H.   /TRAfAIA
    us1            .cxa           77030-1501                                                        Location.           GSUR       .160I    00

           /13             704-5227                                                                 Dwe rLluirrh.       05.14./P17-1        cc        4 IRS   .See       .1




    ULTURE                                                 ACCESSION       99-010-0477              COLLECTED                10JAN99             0535
      CLEAN                CATCH        URINE                                                       RECEIVED                 10JAN99             0630



    ---------------                       FINAL       REPORT
                                                                                           0734
                                                                ----------------------01/11/99

    OWTH          AT       1     DAY




D/TISUUE                       CULT     W/GRAM       ST    ACCESSION       99-010-0732              COLLECTED                10JAN99             0534
      BODY             LUIDOTHER                                                                    RECEIVED                 10JAN99             1001
                       D FA 11-1




-------------------AIN
      STAINS/PREPARATIONS
    -----------
                                                                              01/10/99       1206
    CS            IO       SQUAMOUS           EPITHELIAL       CELLS
    POSITIVE                   COCCI     IN       PAIRS


                                                      REPORT
                   ---------FINAL
                                                                ----------------------01/13/99
                                                                                           1112
KLEBSIELLA OXYTOCA
GROUP D STREPTOCOCCUS                                     ENTEROCOCCUS
CINETC3ACTER BAUMANNII                                    A. ANITRATUS

    ------                 ---        SUSCEPTIBILITY         TESTING
                                       ----------------STRNT
                                                ICLEOXY  LF2
                            IC         INTERP         MIINTE            MTC   TNTERP
                                                                                     S


L/SULBAC                                                          S                  S

LIN                                            S                  R                  S

IN                                                                S                  R

                                                                  S                  S


.IM                                                               S                  S

IN                                                                S                  R
DIME                                                              S                  S

OXACIN                                                            S                  S


IN                                                                S                  S

IN         500                                 S

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                                                                                SPLIT-CUMULATIVE
    Unce                                                                                                                                         Co aimed..


                                      iJICROBIOLOGY
                                                                                                                                                                              1
iACARE HERMANN                                                                                      .4cco   t   No.   969254909010          1

boratory              Services                                                                      Paiea             11i1LTER     KEJ7A
                                                                                                                      00000   96 92 5.190
                      Fannin                                                                        Phecieiaa         DUKE. f-IA-IFSH.               TR.4UI
                 I

                                                                                                                                                /


             -eras      77030-1501
into..                                                                                              Location          GSUR ./60
        7L 704-5227
                                                                                                                                     10
                                                                                                    Dare of Birth     O5 /4//974     .-ic       24   RS   Sex     Al




 /TISSUE              CULT          W/GRAM        ST    ACCESSION          99-010-0716             COLLECTED            10JAN99           0533
      BODY       FLUIDOTHER                                                                        RECEIVED             10JAN99           0953
                 DRAIN

 ----------                 STAINS/PREPARATIONS
IN                                                                          01/10/99     1159
CS MANY RBCS
ANISE-               EEN

--------------                        FINAL           REPORT
                                                                                          1122
                                                               ----------------------01/13/99

FER       TO         CULTURE               99-010-0732          FOR   IDENTIFICATION
USCEPTIBILITY                       RESULTS
OUP          D       7TREPT000CCUS                     ENTEROCOCCUS

----------                  SUSCEPTIBILITY                 TESTING
                             ----------------STRENT
                      MIC    INTERP
IN                                         S

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   Time

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                                               2158
                                                                              SPLIT-CUMULA       TIVE
                                                                                                                                       Coniinued..
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                                                                                                                                                                           Z
  DYNACARE HERMANN                                                                    .4cruu      No.   969254909010         1



    Laboratory         Services                                                       Poricnn           1r4LTER.    KEVIN
                                                                                                        00110096925490

               6411 Fannin                                                            Phrcician         1UkE..14A/ES        H.    TR AU.41.-1
   Ho-ion          Texas     77030-1501                                               Location          GSUR    J602   00

              71       14-5227                                                        Date   o/Birth    05/4/IQ71      Iec       24   RS   .Se   Al




                                      WOUND/EXUDATE   CULT W/GRAM ST           99-013-1166                PRELIM
13/99                071.5

13/99                073.5            BODY FLD/TISSUE   CULT W/GRAM ST         99-013-1165                PRELIM
12/99                1536             IMMEDIATE   SPIN CROSSMATCHT1250         99-012-3230                PROCES

                     1447             ANAEROBIC CULTURE                        99-011-2416                PRELIM
11/99
11/99                1445             ANAEROBIC CULTURE                        99-011-2405                PRELIM
                     0537             BLOOD CULTURE-AUTOMATED                  BC-99-00718                PRELIM
10/99
                     036              BLOOD        CULTURE-AUTOMATED           BC-99-00717                PRELIM
10/99




d Date/Time                   01/14/1999   -7138

                                                                       SPLIT-CUMULATIVE
                                                                                                                              End o/Reporl
     e Date
ccha c



                                           PEN//     NG
3Nt    NNVPV83H                                                    N       0I06061S7696             I


Aao    SaoMnaas                                                            8317VAI          3.Y All

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         UIU                                            unl.ýýssGlý        3Yna          S31Vb1    H /.l
  ..     lOSI-OfOLL                                     uOIrDn7            UlSJ Z09I          00

                                                        ajv7   /o All-IT   tz/il/tl/SO        d3k       t7   SU    saS     1V




                  66/TI/T0
                     87110

                                                                               3DN32I2332I                        SIINI1
                           LET                                                  StI-SET                           I/b3i4


                            86                                                  60I-S61                           .1/03i
                            T                                                  7-6Z                               1/03w
                       0T                                                      I-SO1
                                6
                                                                                                                  IQ/old
                                                                               OZ-OT                              Q9Id I
                       LOT                                                     OTT-S91                            IQ/ýW




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        66611E1/I0    I4    .
                                    117dS N711Wl1ý   LL J1
                                                                                                   pýnulurqý
     CARE HERMANN                                                                              Ic   coon   .V   99 25./48    U 11      I


     1ratory     Services                                                                      Pnient           IIALTER         kEI1.V

                                                                                                                00000    96 925490

                 annin                                                                         Phrckiru         DUKE.    .I.4.1If.SH       TR.4Uý11.4

     on         s 77030-1501                                                                   Location         GSUR     /602    Jo

     71i        704-5227                                                                       Dale of Birth    054741/974       .i        -4   RS        Ses       11




                               01/11/99
                                 0428

                                                                                                                   REFERENCE                         UNITS

 ILE
                                       8.6                                                                          4.8-10.8                         /CMM
                                   2.76                                                                             4.70-6.10                        /CMM
                                    7.9                                                                             14.0-18.0                        G/DL
                                   23.2                                                                             42.0-54.0                        %
                                   83.8                                                                             80.0-94.0                        FL
                                   28.6                                                                             27.0-31.0                        PG
                                   34.1                                                                             32.0-36.0                        %
                                   15.9                                                                             11.514.5                         %
      10-x.3                          433                                                                           133-333                          /CMM
                                       6.6                                                                          7.4-10.4                         FL


 -IAL

                                        65                                                                         43-84
 ýS                                     21                                                                         12-42
                                        10
                                                                                                                   1-13                              %0

                                         3
                                                                                                                   0-6                               %
                                         0
                                                                                                                   0-11                              %


 HOLOGY
 ATE       .                    INC     SL                                                                         NORMAL




                               01/11/99
                                 0428

                                                                                                                  REFERENCE                          UNITS
                                   13.4                                                                            11.1-13.1                         SEC
                                   1.23E
                                   25.7                                                                            25.0-34.0                         SEC




 Re            -ance       f     Footnote
               RE.OMi9ENDED            RANGES       FOR   PROTIE    INR
                  2.0-3.0          for       most   medical   and   surgical   thromboembolic          states.
                  .0-4.            for       artificial    heart    valves   and   recurrent    embolism.




                   n///   3-1999      2/38                             -                                                                                        2

                                                                     SPLIT-CUMULA        TIVE
an                                                                                                                                    Cnnlinuecl..




          HE1I.iTOLOG1                C01IGULATIOV
      DYNACARE HERMANN                                                                                         .1rr    r   No.   9692.540901        0     I



                                  Services                                                                     Pcieu             HALTER.          KEI-lid
       Laboratory
                                                                                                                                 /000096925490

                   6411       Fannin                                                                           Phr.chian         1UKE.         1.41IES   H.   TR4Ur19.

          .tlston      I   esas     77030-1501                                                                 Lnrnrion          GSUR     .160      I0

                                                                                                                                                     1c            1RS   Sex   1
               71.1           704-5227                                                                         Dare of Birih     05./4/191-J                  24




                                                                                0    0    t


                                                                        BLOOD GROUP AND TYPE

                                           ABO/RH       TYPE_
      01/12/99               1536            P.   POS


                                                                ANTIBODY SCREENING               AND TESTING

                                       ANTIBODY  SCREEN
     01/12/99               1536          NEGATIVE




                ----------------------------
                  DC-NOR            NUMBER                           PRODUCT/BLOOD            COMPONENT                            TRANSFUSION                 DATE


               -----------------------352685                           RBC                                                                 01/13/99

               3533161                                                 RBC                                                                 01/12/99




0110
                  -------3
               DONOR NUMBER


                       2697
                  353361
                                                                                XM RESULT
                                                                                ---------

                                                                                     COMPAT
                                                                                     COMPAT
                                                                                                                                           XM     DATE


                                                                                                                                           O1/L2/99
                                                                                                                                           01/1.2/99




OOD     CULTTJ...AUTOMATED                                 ACCESSION          BC-99-00717                      COLLECTED             10JAN99             0536

URCE         FLOOD                                                                                             RECEIVED              10JAN99             1008




----------------                       PRELIMINARY          REPORT   ----

                                                                                                 1403
                                                                             ---------------01/13/99


NO    GROWTH           AT     _     DAYS




OOD    CULTURE-AUTOMATED                                   ACCESSION          BC-99-00718                      COLLECTED             10JAN99             0537

JRCE         BLOOD                                                                                             RECEIVED              l0JAN99             1009




------                     --...-      PRELIMINARY          REPORT
                                                                                              1403
                                                                     -------------------01/13/99



NO    GROWTH                       DAYS




Printed        lilic

                                                                                                                                                                               3
                                     W113.1999      2138
                                                                                     SPLIT-CUMULATIVE
                                                                                                                                                          CunlilIjied..




          BLOOD RIAK                  1f   CRrRIOLr7G                  BLOOD BANK             BLOOD RANK
      DYNACARE HERMANN                                                                                       r   conn   \o.     969254909010

                                Services                                                                     Puhn               WALTER         KE117N
      Laboratory
                                                                                                                                00000       96 92 54 90

                     6411    Fannin                                                                          PItciriun          D1KE../.41/E.SFl.           TR411.4
                                     77030-1501                                                              Lnion
                                                                                                              c.w               GSUR    .16       00
             ilon
                   7         rt14-5227                                                                       Daleol     Birth   U /4/1974         Age.-    24   /LS   Se.c       ill




DY FLD/TISSUE                   CULT     W/GRAM         ST   ACCESSION           99-013-1165                 COLLECTED              13JAN99               0715
                                                                                                             RECEIVED               13JAN99               0734
URCE          BODY          FLUIDOTHER



                                      STAIN
-------------------.AM
----------------                                   PREPARATIONS
                                                                                  01/13/99      1245
      STAIN
                                                                                                                                -




MANY WBCS
NO ORGANIST.                 SEEN



UND/EXUDAT..-.LT   W/GRAM                          ST        ACCESSION           99-013-1166             -
                                                                                                             COLLECTED              13JAN99               0715

URGE   WOUND                                                                                                 RECEIVED               13JAN99               0734

              CHEST TUBE



-------------------AM
----------------
      STAIN
                                      STAINS/PREPARATIONS
                                                                                  01/13/99      1354

NO    WBCS
i30   9   7PMOUS            EPITHELIAL              LLS
NO           vNTSMS          SEEN



DY FLD/TISSUE CULT W/GRAM                               ST   ACCESSION          99-011-2416                  COLLECTED              11JAN99               1447

URCE    PLEURAL FLUID                                                                                        RECEIVED               11JAN99               1540




-------------------AM
----------
      STAIN
                                --    STAIIS/PREPARATIONS
                                                                                  01/11/99      1756

MANY WBCS
NO ORGANISMS                SEEN

-------------                   ---     PRELIMINARY           REPORT
                                                                                                  1018
                                                                         -------------------01/13/99


NO    GROWTH           A-2       DAYS




AEROBIC            CULTURE                                   ACCESSION          99-011-2416                  COLLECTED              11JAN99               1447

URCE          PLEURAL            FLUID                                                                       RECEIVED               11JAN99               1540




-----------------                      PRELIMINARY            REPORT
                                                                                                1422
                                                                       -------------------01/13/99


NO    GROWTH           HT   2    DAYS




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                                                                                                                                                                             4
                                      01/13/1999    2138
                                                                                      SPLIT-CUMULATIVE
                                                                                                                                                           Continued..




                                        itlICROB1OLOGY                                                                                                                                 ý
                                                                                                                                                                             I
      DYNACARE HERMANN                                                                                Account    No.    9692549090/0            I


         Laboratory           Services                                                                 Iadent           WALTER.         AEV7.N
                                                                                                                        0000096925490
                  6411       Fannin                                                                   Thracian          DUKE. JAAIESH.              TRAUMA
            tislon    Texas     77030-1501                                                            Location          GSUR       1602   00

                 713         704-5227                                                                 Oweol     Birth   05i14111   74     .k 24 YR.S     Sex         A/




JDY FLD/TISSUE   CULT                     W/GRAM     ST    ACCESSION          99-011-2405             COLLECTED            11JAN99             1445
JURCE    ABSCESS                                                                                      RECEIVED             11JAN99             1533
                         LIVER       ABSCESS



-------------------.AM
----------------                    STAINS/PREPARATIONS
      STAIN                                                                     01/11/99      1747

FEW      WBCS          MANY F.BCS
RARE       GRAM       POSITIVE COCCI               IN     PAIRS


 -----------                 ----    PRELIMINARY            REPORT
                                                                                               0746
                                                                      -------------------01/12/99


MANY       GROUP             STREPTOCOCCUS                ENTER000CCUS


----------------                    SUSCEPTIBILITY            TESTING
                                    ----------------STRENT
                             MIC    TNTERP
PICILLIN                                      R

_dTAIN           500                          S

REI  0                                        S

 COM      kIN                                 S




AEROBIC       CULTURE                                     ACCESSION          99-011-2405              COLLECTED            11JAN99             1445
RCE          ABSCFS                                                                                   RECEIVED             11JAN99             1533
                   LIVER ABSCESS

-----------------                   PRELIMINARY            REPORT
                                                                                               1423
                                                                      -------------------01/13/99


0 ANAEROBtS              AFTER        2    DAYS




NE CULTUb..                                               ACCESSION          99-010-0477              COLLECTED           10JAN99              0535
 RCE  CLEAN-CATCH                     URINE                                                           RECEIVED            10JAN99              0630



 -------------------                       FINAL     REPORT
                                                                  ----------------------01/11/99
                                                                                             0734
0 GROWTH          AT     1    DAY




 inted    Date/lime

                                011/3.-1999       2138                                                                                                           5

                                                                                   SPLIT-CUMULATIVE
 charge    Dam                                                                                                                                 Continued..




                                    AIICRUBIULOGY                                                                                                            1
                                                                                                                                                                     o y
        DYNACARE                     HERMANN                                                                h cou    i   No.   90925490010           /




            Laboratory                Services                                                             Patient             W ILTIR KEI.7.N
                                                                                                                               0000096925490
                       6411          Fannin                                                                Physician           ICKE.JAMES           H.   T R.-l1/MA
                                                                                                                                     R .160-
                                                                                                                                                                     .
              uston.       Tt xas       77030-1501                                                         Location            GSl             I0

                      713            704-5227                                                              Date   olHirih      0514197J                  24   IL.V           Al




DY      FLD/TISSUE                 CULT W/GRAM            ST    ACCESSION         99-010-0732              COLLECTED              10JAN99           0534
 URCE              BODY          FLUID OTHER                                                               RECEIVED               10JAN99           1001
                                 DRAIN



 -------------------.AM
 -----------------                         STAINS/PREPARATIONS
        STAIN                                                                        01/10/99    1206
  NO    WBC5         SQLAMOUS
                           NO  EPITHELIAL                             CELLS
  GRAM       POSITIVE COCCI IN  PAIRS


   --------------------                          FINAL     REPORT
                                                                       ----------------------01/13/99
                                                                                                  1112
  MANY       RLEES-ZLLA                 OXYTOCA
  MANY       GROUP          ii       STREPTOCOCCUS             ENTEROCOCCUS
  FEW       ACINETOBAC.TER                BAUMANNII            A.    ANITRATUS

  ----------------                         SUSCEPTIBILITY            TESTING
                                            ----------------STRENT
                                                      KLEOXY   LF2
                                     MIC    11IT-EFL       MIC      INTERP     MIC    INTERP

 III          I                                                          S                  S

 IPICiLL/SULBAC                                                          S                  S

 PICILLIN                                           S                    R                  S

EFAZOLIN                                                                 S                  R

.FIPIM                                                                   S                  S

FOTAXIME                                                                 S                  S

FOXITIN                                                                  S                  R

 FTAZIDIIE                                                               S                  S

_PROFLOXACIN                                                             S                  S

NTAMICIN                                                                 S                  S

 NTAMICIN             S.                            S

 IPENEM                                                                  S                  S

VOFLOXACIN                                                               S                  S

PERACILLIN                                                               S                  S


-PERCIL/TACO---                  -                                       S                  S


 REP        1000                                    S

BRAMYCIN                                                                 S                  S


.IMETH/SULF                                                              S                  S


-.NC OMYC I-.                                       S




  Printed   Lun lir
                                                                                                                          -
                                         0//31999       2L38                                                                                                             6

                                                                                       SPLIT-CUMULA      TIVE
Di.alull      Ur.                                                                                                                                   Continued.



                                           A1I-RORI01OGY
       DYNACARE HERMANN                                                                       Arcouni    No.   9692549OWI10        I


       Laboratory          Services                                                           Palirnt          WALTER. KEb7N
                                                                                                               0000096925490
                  6411    Fannin                                                              Plnsirian        DUKE   .1A11F_     H.   7RAUAIA
       huttston      Texas   77030-1501                                                       Laralion         GSUR   ./60   10

                713 704-5227                                                                  Dnle of Birth    O5/4 1974      -v       4 IRS    Sex       Al




 DY    FLD/TISSUE          CULT W/GRAM          ST   ACCESSION       99-010-0716              COLLECTED           10JAN99         0533
 URCE          BODY      FLUIDOTHER                                                           RECEIVED            10JAN99         0953
                         DRAIN



 -------------------AM
 ----------------
       STAIN
                                 STAINS/PREPARATIONS
                                                                       01/10/99     1159
 FEW    WBCS          MANY   RBCS
 NO ORGANISMS             SEEN


 --------------------                   FINAL   REPORT
                                                          ----------------------01/13/99
                                                                                     1122
 FEW REFER    ..ULTUR     99-010-0732   FOR IDENTIFICATION
  AND SUSCE-r1BILITY  RESULTS
 RARE GROUP D STREPTOCOCCUS     ENTER000CCUS

 ----------------                SUSCEPTIBILITY        TESTING
                                     ----------------STRENT
                          MIC        INTERP
Pi-    IN                                 S

NTAMICIN         500                      S

REP     1000
.NCOMYCI                                  S




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                             0/./31/999       /iS.                                                                                                    7

                                                                             SPLIT-CUMULA   TIVE
.XerhaL Dutr                                                             -

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                                 i   lIfRORl1l.OG
    DYNACARE HERMANN                                                 AcnunlNo.        969234909011         1




       Laboratory          Services                                  Palm   n         If   ALTER   KEI iN
                                                                                      0000096925490

                  6411    Fannin                                     1hrsician        1.LKE..1-liE.SH.TR4UA4A

     Houston          Texas   77030-1501                             Locmion          GSUR     .160   00

                713       -704-5227                                  Date   olBirih   05/14/IV7J




                                       NORM


                                       01/11/99
                                            0428
                                                                                            REFERENCE          UNITS
  IUM                                         137                                           135-3.45           MEQ/L

 ASSIUM                                       3.1                                           3.5-5.0            MEQ/L

 BRIDE                                         98                                           95-1091            MEQ/
                                               31                                           24-32              MEQ/L

 TININE                                       1.0                                           0.5-1.4            MG/D1.

                                                   9                                        10-20              MG/DL

 LOSE                                         107                                           65-1101            MG/DL




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0u             Re         singe


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Printed   Hale/Time

                               01/12/1999    2308                                                                   1




                                                       SPLIT-CUMULATIVE
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          1       ncYnv
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           D YNA CA RE HERMA NN                                                                               Iuountln.      4692149090101         I



            Laboratory          Services                                                                      Poliew         WALTER. KEVIN
                                                                                                                             00000 9692 54 90
                       6411    Fannin                                                                         Phr.ckinn      DUKE   .1A11E        H.    7R1 Ut1.-I
            Houston      Texas     77030-1501                                                                 Locoiion       GSUR   .160     II

                       713     704-5227                                                                       Dwt of Birth   5//41974      -1gc        _24   IRS       Sex       17




                                                                                              0




                                              01/11/99
                                                   0428
                                                                                                                                REFERENCE                          UNITS

HEMOPROFILE
tJBC    X    10x3                                        8.6                                                                    4.8 1Q8                            /CMNM

RBC     X    10x6                                   2.76                                                                        4.70-6.10                          /CMM
HEMOGLOBIN                                           7.9                                                                        14.0-18.0                          G/DL
33MATOCRIT                                          23.2                                                                        42.0-54.0                          %

ACV                                                 83.8                                                                        80.0-94.0                          FL
.C                                                  28.6                                                                        27.0-31.0                          PG
ACHC                                                34.1                                                                        32.0-36.0
RDW                                                 15.9                                                                        11.5-14.5                          %
PLATELET           X   1x3                           433                                                                        133-3331                           /Cm
_dPV                                                    6.61                                                                    7.4-10.4                           FL


DIFFERENTIAL
POLYS                                                     65                                                                    43-84                              %
                                                                                                                                                                   0

LYM          YTES                                         21                                                                    12-42                              %

ON           ýES                                          10                                                                    1-13                               %
OSINOPHILS                                                                                                                      0-6                                %

SASOPHILS                                                  0                                                                    0-1                                %


BBC MORPHOLOGY
LT ESTIMATE                                       INC     SL                                                                    NORMAL




                                              01/11/99
                                                 0428

                                                                                                                               REFERENCE                           UNITS
ROTIME                                              13.4                                                                       11.1 13.1                           SEC
NR                                                  1.23f
PTT                                                 25.7                                                                       25.0-34.0                           SEC




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      Out    of    Ref.       -.ange      f
                                         Footnote
.O                             RECOMMENDED  RANGES                 FOR   PROTIME   INR
                                   2.0-3.0         for     most   medical    and   surgical       thromboembolic    states.
                                   3.0-4.5         for     artificial      heart   valves   and     recurrent embolism.


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                                   01/12-1999           2308                                                                                                                 2

                                                                                    SPLIT-CUMULATIVE
 Ui.ccho    r Owr                                                                                                                                 Cinlinucd..




                          Nl-A/-   To   /W    Y         0.-iiUL.4TIU.d                                                                                                                I
       DYNACARE                    HERMANN                                                                      Icorni            96954VOV010           1




           Laboratory              Services                                                                     Patient           HALTER.        KEIVIA
                                                                                                                                  00000 96 925490
                        6411       Fannin                                                                       Phrcician         IUKE..I.4I/E.Sff.         7RAUr1f-I

        Houston.Texas                   77030-1501                                                              Location          GSUR    .160    00

                    713            704-5227                                                                     Date   of Birth   05/14   7.1     4c 4 YRS        Set       Al




                                                                           BLOOD GROUP AND TYPE

                                              ABO/RH       TYPE
       01/12/99                1536             A    POS


                                                                     ANTIBODY     SCREENING       AND TESTING

                                           ANTIBODY         SCREEN
       01/12/99               1536             NEGATIVE




                   DONOR           NUMBER                                        XM   RESULT                                              X14    DATE

                        3526875                                                       COMPAT                                              01/12/99
                        3          61                                                 COMPAT                                              01/12/99




 DOD       CULTURE-AUTOMATED                                 ACCESSION          BC-99-00717                 COLLECTED                10JAN99           0536
 JRCE          BLOOD                                                                                        RECEIVED                 10JAN99           1008



 -----------------                        PRELIMINARY         REPORT
                                                                                                 1304
                                                                        -------------------01/12/99


 NO    GROWTH           IT     2    DAYS




OOD        CULTURE-AUTOMATED                                 ACCESSION          BC-99-00718                 COLLECTED                10JAN99           0537
JRCE           BLOOD                                                                                        RECEIVED                 10JAN99           1009




 ------------------                       PRELIMINARY         REPORT
                                                                                                1304
                                                                       -------------------01/12/99


 10    GROWTH           -ý.    2    DAYS




 Printed   Date/    r

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                                        01/12/1999    230S                                                                                                              3

                                                                                      SPLIT-CUMULA        TI VE
Di.ccha    e Dare                                                                                                                                       Continued..




                                                                  R1.OOI BANK      BLOOD BANK                                                                                    1
                                                                                                                                                                        1
           DYNACARE                       HERMANN                                                                 ýcruunAn.       469254909010         1



              Laboratory                  Services                                                                Paien           HALTER.    KEVIN
                                                                                                                                  0000096925490
                         641      I       Fannin                                                                  1I9   ciun.     /UKE..1A0IE.S       H.   TRAUAMA
           Houston            Texas         77030-1501                                                            Location        G.SUR   .161   00

                        713 704-5227                                                                              Dale of Hirsh   05744974       ler       4   RS   Sep       11




BODY FLD/TISJE CULT W/GRAM                                    ST    ACCESSION          99-011-2416                COLLECTED          11JAN99           1447
SOURCE   LEURAL FLUID                                                                                             RECEIVED           11JAN99           1540




-------------------RAM
------------------                               STAINS/PREPARATIONS
           STAIN                                                                         01/11/99      1756

     MANY WBCS
     NO ORGANISMS                     SEEN


-------------------                               PRELIMINARY        REPORT
                                                                                                         0745
                                                                                -------------------01/12/99


     NO GROWTH            AFTýR              OVERNIGHT        INCUBATION



3ODY FLD/TISSJE  CULT W/GRAM                                  ST    ACCESSION          99-011-2405                COLLECTED          11JAN99           1445
SOURCE   ABS-FSS                                                                                                  RECEIVED           11JAN99           1533
                                  LIVER ABSCESS



-------------------SRAM
               ...........                       STAINS/PREPARATIONS
           STAIN                                                                         01/11/99      1747
     FEW      WBC S           MA14Y          RBC S
     RARE       GRAM      POSITIVE                 COCCI     IN    PAIRS

                                      p
---------------                            --     PRELIMINARY        REPORT
                                                                                                        0746
                                                                               -------------------01/12/99


     MANY       GROUP         D       STREPTOCOCCUS                ENTEROCOCCUS



JRINE CULTURE                                                       ACCESSION          99-010-0477               COLLECTED          10JAN99           0535
SOURCE    CLEAN CATCH                              URINE                                                         RECEIVED           10JAN99           0630



------------                              ----        FINAL    REPORT
                                                                           ----------------------01/11/99
                                                                                                      0734
     NO    GROWTH        AT           I    DAY




     /riwed    OuR.   limes


                                                1.-12/1999   208                                                                                                          4

                                                                                            SPLIT-CUMULA        TI VE
 I   i.crhug     Dune                                                                                                                                  Conlinned..




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                                                                                                                                                                                   I   Lý
       DYNNrnDC          UCDnannrnl                                                                         Icccunr.Nn.        969 514Ur1O11


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                                                                                                                                                      I


        LabERRUP.        syrm.ecrror                                                                         0r-                    41 Tr R    6-F 7V
                                COMMAND - ---                                      -                                                           -- -                            -
                                                                                                                               if


            OFFENDING                                                  -

                 6411   Fannin                                                                              Phi   ..ciciu      1UKE. J4        IES   H.   TR.4C11.1

        HouST.ACl         i   77030-1501                                                                    Loc-alion.         GSUR     ./60    00

                713     704-5227                                                                            Dare    of Birrh   05/14/1074                 24   TS   Sex   Al




                                                 Nam
                                                             0     ý           0         0                   ý     m




 DDY FLD/TISSUE CULT W/GRAM                      ST        ACCESSION                99-010-0732             COLLECTED               10JAN99          0534
 JURCE   BODY FLUIDOTHER                                                                                    RECEIVED                10JAN99          1001
               DRAIN



 -------------------RAM
 -----------------             STAINS/PREPARATIONS
        STAIN                                                                          01/10/99     1206
  NO    WBCS      SQUAMOUS
                  CIO       EPITHELIAL                            CELLS
  GRAM    POSITIVE COCCI IIJ PAIRS

 ------------------             PRELIMINARY                 REPORT
                                                                                                     0803
                                                                            -------------------01/12/99


 MANY    GRAM            TINE     RODStON-LACTOSE                          FERMENTERS
 MANY    GROUP          TREPT000CCUS        ENTEROCOCCUS
 FEW    GRAM     NEGATIVE       RODSLACTOSE                  FERMENTERS

 -----------------             SUSCEPTIBILITY                    TESTING
                                ----------------STRENT
                         MIC    INTERP
KPIc-lIN                                   S

ENTAMICIN        500                       S

PREP    1000                               S

ANCOMYCIN                                  S




ODY FLD/TISSUE CULT W/GRAM                       ST        ACCESSION               99-010-0716              COLLECTED               10JAN99          0533
SURCE    BODY FL.UIDOTHER                                                                                   RECEIVED                10JAN99          0953
              DRAIN



       -------------------STAIN
------------------             STAINS/PREPARATIONS
                                                                                       01/10/99     1159
 FEW    WBCMANY               ROCS
 NO    ORGANISM    G    SEEN


..................              PREL.Ek        INARY       REPORT
                                                                                                     0815
                                                                            -------------------01/11/99


 FEW    GRAM    NEGATIVE        RODSAN-LACTOSE                         FERMENTERS
 RARE    GROUP     D    STREPTOCOCCUS                 E.   TEROCOCCTUS




                                ------TRENT
                               SUSCEPTIBILITY                TESTING


                        MIC     INTERP
MPICILLIN
ENTAMICIN       5C0                       S

TREP 1000                                 S

ANCOMYCIN                                 c
         DYNACARE HERMANN                                                    .hconniNo         9692549090/0          l



           Laboratory Services                                               Iorienr           WA L TER KELY.N
                                                                                               0000096925190
                        6411 Fannin                                          Plmcician         lUKE..JAMESH.             TR..tUt1.4

          Houston          Texas    77030-1501                               Loraine           GSUR     ./60   00

                     713         704-5227                                    Daleq/Birch       05/14/1974      Age       24   IRS    Sex        if




                                                         G         .

                                            01/11/99
                                                  0428
                                                                                                   REFERENCE                        UNITS
SODIUM                                              137                                            135-145                          MEQ/L

POTASSIUM                                           3.1                                            3.5-5..01                        MEQ/L

CHLORIDE                                             98                                    -       95-109                           MEQ/L

C02                                                  31                                            24-321                           MEQ/L

CREATININE                                          1.0                                            0.5-1.4                          MG/DL

BUN                                                      9                                         10-20                            MG/DL

GLUCOSE                                             107                                            65-110                           MG/DL




yea
             of    Ref.       4anae


                                                                                                                              -
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                                     01//111999     1225                                                                                    /


                                                             CUAIULA TIVE-INTERIM
  Disc   kargc   lalc


             /-4P4      f/VTRV
          DYNACARE                    HERMANN                                              .4cou      No.   969254909010            1



             Laboratory               Services                                             Paden            WALTER            hEl JN
                                                                                                            0000096925490
                         6411        Fannin                                                Ph.ceician       IUKE./AMES/I.                TRILIAIA


                                                                                                                               I
             rouston       Texas          77030-1501                                       Location         GSUR       ./60    00

                         713         704-5227                                              Dole of Birth    05/1411974                  24   IRS       Sex       II




                                                    01/11/99
                                                       0428
                                                                                                               REFERENCE                           UNITS

HEMOPROFILE
WBC      X      10x3                                       8.6                                              --4.8-10.8                             /CMM

                                                                  .
RBC      X      10x6                                    2.76                                                    4.70-6.10                          /CMM
HEMOGLOBIN                                                 7.9                                                  14.0-18.0                          G/DL
HEMATOCRIT                                              23.2                                                    42.0-54.0                          %

MCV                                                     83.8                                                    80.0-94.0                          FL
MCH                                                     28.6                                                    27.0-31.0                          PG
MCHC                                                    34.1                                                    32.0-36.0                          %

RDW                                                     15.9                                                    11.5          14.5
PLATELET             X   10x3                              433                                                  133-333                            /CMM

MPV                                                        6.6                                                  7.4-10.41                          FL


DIFFERENTIAL
POLYS                                                       65                                                  43-841                             %

LYF             CYTES                                       21                                                  12-42                              %

OI.             ES                                          10                                                  1-131                              %

EOSINOPHILS                                                   3                                                 0-6                                %

EASOPHILS                                                     0                                                 0 11
                                                                                                                   -                               %



RBC MORPHOLOGY
PLT      ESTIMATE                                    INC    SL                                                  NORMAL




                                                    01/11/99
                                                      0428
                                                                                                               REFERENCE                           UNITS
PROTIME                         --
                                      -                13.4                                                     11.1-13.1                          SEC

INR                                                    1.23f
sPTT                                                   25.7                                                     25.0-34.01                         SEC




egend
      Out       of     Ref.          Range      f
                                                Footnote
-NR                                   RECOMMENDED   RANGES FOR PROTIME INR
                                        2.0-3.0   for most medical and surgical thromboembolic states.
                                        3.0-4.5   for artificial heart valves and recurrent embolism.


      Printed   Dan/lime
                                          01/111999        /225                                                                                              2
                                                                         CUMULA TI VE-INTERIM
 Discharge       Dane                                                                                                               Continued..



                              HEAI.4      TOL OGY          COAGULATION
                DYNACARE HERMANN                                                                                                                                        4c   ouni No.       969254909010            1



                        Laboratory                               Services                                                                                              Patient              WALTER. KEl/N
                                                                                                                                                                                            0000096925490
                                             6411            Fannin                                                                                                    Pnwician             IIKE..14     t   IES H.     TRAUMA
                    Houston                      Texas                    77030-1501                                                                                   Location             GSUR    .160      00

                                         713                 704-5227                                                                                                  Dare   of   /3irrh   05/1449.74        .4g     21   RS   Sex   At




URINE CULTURE                                                                                          ACCESSION                             99-010-0477               COLLECTED                10JAN99            0535

SOURCE    CLEAN CATCH                                                                 URINE                                                                            RECEIVED                 10JAN99            0630




-   -   -   -   -   -   -    -   -   -   -   -   -   -   -   -   -    -   -   -   -   -   FINAL    REPORT    -   -   -   -   -   -   -   -   -   -   -




                                                                                                                                                               0734
                                                                                                                                                 ---------01/11/99

        NO          GROWTH                       AT                   DAY




BODY                FLD/TISSUE                             CULT W/GRAM                            ST   ACCESSION                             99-010-0732               COLLECTED               10JAN99             0534

SOURCE                               BODY                FLUIDOTHER                                                                                                    RECEIVED                10JAN99             1001
                                                         DRAIN




-------------------GRA14
------------                                             ----                 STAINS/PREPARATIONS
  STAIN                                                                                                                                          01/10/99     1206

        NO          WBCS            SQUAMOUS EPITHELIAL
                                                 NO                                                         CELLS
        GRAM                POSITIVE COCCI IN PAIRS

                    --------------                                                PRELIMINARY           REPORT
                                                                                                                                                  0816
                                                                                                                         -------------------01/11/99


        MANY                GRAM NEGATIVE RODSNON-LACTOSE    FERMENTERS
        MANY                GROUP D STREPTOCOCCUS   ENTEROCOCCUS

                                                          ltm




BODY FLD/TISSUE   CULT W/GRAM                                                                     ST   ACCESSION                             99-010-0716               COLLECTED               10JAN99             0533

SOURCE    BODY FLUIDOTHER                                                                                                                                              RECEIVED                10JAN99             0953

                DFAIN



-------------------GRAM
------------                                                     --           STAINS/PREPARATIONS
                                                                                                                                                 01/10/99    1159
                    STAIN
        FEW             WBCS                         MANY                 RBCS
        NO          ORGANISMS                                SEEN


-------------                                            ------                   PRELIMINARY          REPORT
                                                                                                                                                  0815
                                                                                                                         -------------------01/11/99


        FEW             GRAM NEGATIVE RODSNON-LACTOSE                                                            FERMENTERS
        RARE             GROUP D STREPTOCOCCUS   ENTEROCOCCUS




        Primed              /1/7         ir.                                                                     -
                                                                                                                                                                                                                                      3
                                                                          01/11/1999          1225
                                                                                                                                                         CUMULA TIVE-INTERIM
                                                                                                                                                                                                                    Continued..




                                                                                              MICROBIOLOGY                                                                                                                                 I   I   U
        DYNACARE HERMANN                                                                      AýraanNo.         969254909010         1



          Laboratory          Services                                                        Parien            1VALTER.     KEVIN
                                                                                                                0000096925490
                     6411    Fannin                                                           Phrcician         DUKE. J4AMESH.TRAUMA

        Houston       Texas        77030-1501                                                 Location          GSUR    .160   00

                     713    704-5227                                                          Date   of lirih   05/1411974     Age       _4   IRS   Sex       Al




01/10/99                    J537           BLOOD       CULTURE-AUTOMATED               BC-99-00718               RECVD
01/10/99                    0536           BLOOD       CULTURE-AUTOMATED               BC-99-00717               RECVD
01/10/99                    0534           BODY    FLD/TISSUE       CULT W/GRAM   ST   99-010-0732               PRELIM
01/10/99                    0533           BODY    FLD/TISSUE       CULT W/GRAM   ST   99-010-0716               PRELIM




  L




rinsed Date/Time                   01111/1999   1225                                                                                                      4

                                                                            CUMULA TI VE-INTERIM
  Discharge   Date                                                                                                                   End ofRcporl


                                                          PENDING
         DYNACARF HERMANN                                                                       Ac   count   No.    9692549090/0         l



           Laboratc                                  Services                                   Pmirrtt             11ALTER     KEVIN
                                                                                                                    0000096925490
                                      6411       Fannin                                         Pinsicion           DUKE../-ýAfES       H.   TRAUM.a
          Houston                       Texas          77030-1501                               Location            GSUR    .160   00

                                  713            704-5227                                       Dale    of Birlir   05//41974      Age       24   YRS    Sex    11




                                                                01/11/99
                                                                    0428
                                                                                                                       REFERENCE                        UNITS

SODIUM                                                                137                                               135-145                         MEQ/L

POTASSIUM                                                             3.1                                               3.5-5..0                        MEQ/L

CHLORIDE                                                               98                                           -95-1091                            MEQ/L

C02                                                                    31                                             24-32                             MEQ/L

CREATININE                                                            1.0                                               0.5-1.41                        MG/DL

BUN                                                                        9                                            10-20                           MG/DL

GLUCOSE                                                               107                                               65-110                          MG/DL




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               of       Ref.                     Range

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                                                                      2137                                                                                      /
                                                        1.%11i/909
                                                                               SPLIT-CUMULA   TI Vr
                                                                                                                                         Continued..
 I   ischare
                    /a/c.-rrJr.




                                  A   Plc   11   c
           DYNACAFE HERMANN                                                                                   1cc   aum No.       9692549090       /   0    I



              Laboratory           Services                                                                   Parienn             R ALTER        KEVIN
                                                                                                                                  0000096925490
                          6411    Fannin                                                                      Physician           DI WE. JAMES H.               TRAU        .
              Houston          Texas   77030-1501                                                             LoCarion            G.SUR     .160       00

                          713     704-5227                                                                    Dare ofHirih        tl.i.I4i1974         .        4 YS       Sex       Af




                                                 01/1.1/99
                                                   0428

                                                                                                                                      REFERENCE                        UNITS

HEMOPROFILE
WBC       X     10x3                                    8.6                                                                            4.8-1018                        /CMM
RBC       X     1.0x6                                2.76                                                                     -


                                                                                                                                       4.70-6.10                       /CMM
HEMOGLOBIN                                              7.9                                                                            14.0-18.0                       G/DL
HEMATOCRIT                                           23.2                                                                              42.0-54.01                      %

MCV                                                  83.8                                                                              80.0-94.0                       FL
MCH                                                  28.6                                                                              27.0-31.0                       PG
MCHC                                                 34.1                                                                              32.0-36.0                       %

RDW                                                  15.9                                                                              11.5-14.5                       %

PLATELET              X   10x3                          433                                                                            133-333                         /CMM
MPV                                                     6.6                                                                            7.4-10.4                        FL


DIFFERENTIAL
POLYS                                                    65                                                                           43-841                           %
L          OCYTES                                        21                                                                           12-42
M         .YTE                                           10                                                                           1-131                            %

EOSINOPHILS                                               3                                                                           0-61                             %

BASOPHILS                                                 0                                                                           0-11


RBC MORPHOLOGY
PLT      ESTIMATE                                 INC    SL                                                                           NORMAL


                                                                                     -IT




                                                 01/11/99
                                                   0428
                                                                                                                                     REFERENCE                         UNITS
PROTIME                                             13.4                                                                              11.1       13.1                  SEC
INR                                                 1.23f

aPTT                                                25.7                                                                              25.0-34.0                        SEC




Legend
      Out       of    Ref.       Range       f     Footnote
INR                               RECOMMENDED         RANGES       FOR   PROTIME   INR
                                       2.0-3.0      for     most   medical   and   surgical   thromboembolic           states.
                                       3.0-4.5      for     artificial     heart   valves   and   recurrent    embolism.


      Printed   DoM     Time

                                       01/11i1999       2137                                                                                                                     2

                                                                                    SPLIT-CU1I ULA TI VE
 Discharge       Darr                                                                                                                                       Continued..



                                  114Tnf.GY             COAGULATION
          DYNACARE HERMANN                                         Account   No.               U
                                                                                    969254909010
          Laboratory             Services                          Patient          WALTER KEVIN
                                                                                    000006925490
                      6411 Fannin                                       Clin        COU
          Houston       Texas      77030-1501                          Bir
                                                               Daze of B
                                                               Dag.te
                                                                                    05114/1   74   Age   24   YRS    SexM
                                                                   Ord. Physician   WOERHMANN AMYL.
                      713    704-5227                              Ord. Location    ECL




                                            01/10/99
                                               0055

                                                                                     REFERENCE                      UNITS
SODIUM                                           135                                  135-145                       MEQ/L
POTASSIUM                                        3.2                                  3.5-5.0                   MEQ/L
CHLORIDE                                          97                                  95-109                    MEQ/L
C02                                               29                                  24-32                     MEQ/L
CREATININE                                       1.3
                                                                                      0.5-1.4                   MG/DL
BUN                                               14                                  10-20                     MG/DL
GLUCOSE                                          157                                  65-110                    MG/DL




Legend
      t    of   Ref.        Range


  Printed Date/Time                                            _

                                  01/10/1999    1222                                                                   1

                                                       FINAL
 Discharge   Date     01/14/99                                                                           Continued..



           CHEMISTRY                                                                                                        7 2
           DYNACARE HERMANN                                      Account   No.     969254909010     U
             Laboratory            Services                      Patient           WALTER       KEVIN
                                                                                   0000096925490
                        6411 Fannin                              Reg.   Clinic     COU
             Houston Texas           77030-1501                  Date of Birth     05/14/1974   Age   24 YRS       SexM
                                                                 Ord. Phvcician    WOERHMANN AMY L.
                       713    704-5227                           Ord.   Location   ECL




                                              01/10/99
                                                0055

                                                                                    REFERENCE                  UNITS

HEMOPROFILE
WBC      X      10x3                              20.1                              4.8-10.8                   /CMM
RBC      X      10x6                              3.06                              4.70-6.10                  /CMM
HEMOGLOBIN                                         8.4                              14.0-18.0                  G/DL
HEMATOCRIT                                        26.0                              42.0-54.0                  %
MCV                                               85.0                              80.0-94.0                  FL
MCH                                               27.4                              27.0-31.0                  PG
MCHC                                              32.3                              32.0-36.0                  %
RDW                                               16.0                              11.5-14.5                  %




Le         is


      ..        of   Ref.    Range

Printed Date/Time                    01/10/1999   1222                                                                2
                                                         FINAL
     Discharge   Date   01/14/99                                                                        End of Report


                            HEMATOLOGY                                                                                    C   7
             DYNACARE HERMANN                                                          Account   No.      969254909010     U
             Laboratory           Services                                             Patient            WALTER       KEVIN
                                                                                                          0000096925490
                       6411 Fannin                                                     Reg.   Clinic      COU
             Houston    Texas       77030-1501                                         Date   of Birth    05/14/1974   Age   24   YRS SexM
                                                                                       Ord.   Physician   WOERHMANN AMY L.
                     713     704-5227                                                  Ord.   Location    HH




                                             01/10/99
                                                 0134
                                                                                                           REFERENCE                UNITS
ALT      SGPT                                      349                                                      0-40                    U/L
AST      SGOT                                      270                                                      0-37                    U/L
GGT                                                337                                                      9-54                    U/L
ALK      PHOS                                      264                                                      39-117                  U/L
LDH                                                358                                                      94-250                  U/L
BILIRUBIN  TOTAL                                   0.8                                                      0.2-1.0                 MG/DL
BILI DIRECT                                        0.6                                                      0.0-0.2                 MG/DL
AMYLASE                                             74f                                                     28-100                  U/L
LIPASE                                        312f                                                          30-190                  U/L
AMYLASE                           NOTE   09/03/98  REFERENCE RANGE CHANGED.
LIPASE                            Please note Units of measure and Reference   Range   changed         06/06/97.




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         d
1    ....s    of    Ref.    Range        f    Footnote


Printed Date/Time                   01/10/1999     1222                                                                                   1


                                                                 FINAL
    Discharge   Date   01/14/99                                                                                                End of Report


              CHEMISTRY                                                                                                                        Z y
      DYNACARE                   HERMANN                            Account   No.      969254909010U
         Laboratory              Services                           Patient            WALTER KEVIN
                                                                                       0000096925490
                      6411 Fannin                                   Reg.   Clinic      COU
       Houston          Texas      77030-1501                       DateofBirth        05/14/1974 Age 24 YRS SexM
                                                                    Ord.   Physician   DUKE. JAMES H. TRAUMA
                    713      704-5227                               Ord. Location      COU




                                            01/10/99
                                                0533

                                                                                        REFERENCE           UNITS
SODIUM                                            135                                    135-145            MEQ/L
POTASSIUM                                         3.5                                    3.5-5.0            MEQ/L
CHLORIDE                                           96                                    95-109             MEQ/L
C02                                                30                                    24-32              MEQ/L
CREATININE                                        1.2                                    0.5-1.4            MG/DL
BUN                                                16                                    10-20              MG/DL
GLUCOSE                                          123                                     65-110             MG/DL




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          of   Ref.        Range

  Printed DatelTime                                             -


                                   0111011999    1222                                                            1

                                                        FINAL
 Discharge   Date     01/14/99                                                                         Continued..


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          HF. MI.CTR Y
        DYNACARE HERMANN                                             Account   No.       969254909010       U
            Laboratory        Services                               Patient             WALTER KEVIN
                                                                                         0000096925490
                    6411 Fannin                                      Reg.   Clinic       COU
         Houston Texas             77030-1501                        Date of Birth       05/14/1974   Age   24   YRS   SexM

                                                                     Ord. Physician      DUKE JAMES H. TRAUMA
                                                                                         COU
                    713     704-5227                                 Ord. Location




                                          01/10/99
                                                0533
                                                                                          REFERENCE                    UNITS


HEMOPROFILE                                                                          -




WBC     X    10x3                                13.6                                      4.8-10.8                    /CMM

RBC     X    10x6                                2.92                                      4.70-6.10                   /CMM

HEMOGLOBIN                                        8.4                                      14.0-18.0                   G/DL

HEMATOCRIT                                       24.6                                      42.0-54.0                   %

                                                 84.3                                      80.0-94.0                   FL
MCV
                                                 28.7                                      27.0-31.0                   PG
MCH
MCHC                                             34.0                                      32.0-36.0                   %

RDW                                              15.9                                      11.5-14.5                   %




Ly          3
      vut       of-Ref.      Range                       -




                                                                                                                              2
Printed Date/Time                   01/10/1999    1222
                                                             FINAL
                                                         -                                                       End of Report
     Discharge   Date   01/14/99



                           ucAA4TnrnV
           DYNACARE HERMANN                                               Account   No.     969254909010       U
            Laboratory                Services                            Patient           WALTER       KEVIN
                                                                                            0000096925490
                          6411    Fannin                                  Reg.   Clinic     COU
           Houston          Texas       77030-1501                        Date ofBirth      05/14/1974   Age   24   YRS SexM
                                                                          Ord. Physician    DUKE JAMES H. TRAUMA
                      713        704-5227                                 Ord.   Location   COU




                                                 01/10/99
                                                     0535

                                                                                             REFERENCE                UNITS

URINE MACROSCOPIC ANALYSIS
COLOR                  YELLOW
TURBIDITY                  MOD                                                               CLEAR
 SPEC      GRAVITY                                   1.080                                   1.005-1.035

                                                        1                                    4.5-8.0
 PH                                                    5.0
PROTEIN                                                                                      NEGATIVE
GLUCOSE                                      NEGATIVE                                        NEGATIVE
KETONES                                      NEGATIVE                                        NEGATIVE
BLOOD                                        MODERATE                                        NEGATIVE
BILIRUBIN                                    NEGATIVE                                        NEGATIVE
UROBILINOGEN                                           1.0                                   0.1-1.0                  EU/DL
LEUKOCYTE           ESTER                    NEGATIVE                                        NEGATIVE
NITRITE                                      NEGATIVE                                        NEGATIVE

UK... MICROSCOPIC ANALYSIS
SQUAMOUS EPITH            RARE
WBC/HPF                                                5-8
RBC/HPF                                                3-5                                   /HPF
BACTERIA                                                    -




MUCUS                                                       -
                                                                                             /LPF
AMORPHOUS                                    MODERATE                                        /LPF
FINE GRAN           CASTS                    MODERATE




Lec   -d
             of    Ref.        Range
 1.




      Printed Date/Time

                                        01/10/1999    1222

                                                                PARTIAL
  Discharge    Date       01/1.4/99                                                                            Continued..




             URINALYSIS                                                                                                        t
                                                                                                                                   Z
         DYNACARE HERMANN                                                   Account   No.      969254909010       U
          Laboratory          Services                                      Patient            WALTER       KEVIN
                                                                                               0000096925490

                      6411 Fannin                                           Reg. Clinic        COU
                                                                            Date oJBirth                               YRS SexM
         Houston       Texas      77030-1501                                                   05/14/1974   Age   24

                                                                            Ord.   Physician   DUKE JAMES H. TRA UMA
                     713    704-5227                                        Ord. Location      COU




                           0535            URINE-CULTURE             99-010-0477               RECVD
01/10/99




                                                                                                                                  I




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                                                                                                                                  2
Tinted   Date/Time                 01/10/1999   1222
                                                           PARTIAL
                                                                                                                       End of Report
  Discharge    Date    01/14/99




                         PENDING                                                                                                      ý.
                                                                                                                                           L
       DYNACARE HERMANN                                                            Account   No.                U
                                                                                                     969254909010

        Laboratory             Services                                            Patient           WALTER KEVIN
                                                                                                     0000096925490
                    6411 Fannin                                                    Reg.   Clinic     COU
       Houston        Texas      77030-1501                                        Date of Birth     05/14/1974   Age   24 YRS   SexM

                                                                                   Ord. Physician    DUKE JAMES H. TR9 UMA
                713       704-5227                                                 Ord.   Location   COU




BODY FLD/TISSUE   CULT W/GRAM                  ST    ACCESSION   99-010-0716       COLLECTED          10JAN99       0533
SOURCE    BODY FLUIDOTHER                                                          RECEIVED           10JAN99       0953
                DRAIN



-------------------GRAM
------------------                STAINS/PREPARATIONS
        STAIN                                                    01/10/99   1159
  FEW    WBCS         MANY       RBCS
  NO    ORGANISMS         SEEN




  Printed   Dateime

                                 01110/1999   1222
                                                                    PARTIAL
 Discharge   Date   01/14/99                                                                                             Continued..




            MICROBIOLOGY
        DYNACARE HERMANN                                                                 Account       No.   969254909010    U
          Laboratory         Services                                                    Patient             WALTER KEVIN
                                                                                                             0000096925490
                      6411 Fannin                                                        Reg.   Clinic       COU
        Houston Texas            77030-1501                                              Date ojBirth                 Age 24 YRS SexM
                                                                                                             05/14/1974

                                                                                         Ord. Physician      DUKE. JAMES H. TRAUMA

                    713     704-5227                                                     Ord.   Location     COU




01/10/99                  0533            BODY    FLD/TISSUE   CULT W/GRAM   ST   99-010-0716                STAIN




                                               1222                                                                                       2
Printed Date/Time                 01/10/1999
                                                                       PARTIAL
                                                                                                                                 End of Report
   Discharge   Date   01/14/99




                         PENDING                                                                   -
                                                                                                                                              16
       DYNACARE HERMANN                                                             Account   No.     969254909010     U
       Laboratory Services
                                                                                    Patient           WALTER     KEVIN
                                                                                                      0000096925490

                    6411 Fannin                                                     Reg.   Clinic     COU
       Houston Texas             77030-1501                                         Date   of Birth   05/14/1974 Age 24 YRS SexM
                                                                                    Ord. Physician    DUKE. JAMES H. TRAUMA

               713         704-5227                                                 Ord.   Location   COU




BODY FLD/TISSUE CULT W/GRAM                     ST    ACCESSION   99-010-0732       COLLECTED          10JAN99        0534

SOURCE    BODY FLUIDOTHER                                                           RECEIVED          .10JAN9         1001

               DRAIN



-------------------GRAM
------------------                STAINS/PREPARATIONS
       STAIN                                                      01/10/99   1206

  NO   WBCS           NO SQUAMOUS         EPITHELIAL      CELLS
  GRAM    POSITIVE        COCCI IN         PAIRS




  Printed Date/Time                                       _

                                  01/10/1999   1222
                                                                      PARTIAL
                                                                                                                           Continued..
 Discharge   Date     01/14/99




          MICROBIOLOGY                                                                                                                   1
       DYNACARE HERMANN                                                                      Account   No.                U
                                                                                                               969254909010

         Laboratory Services                                                                 Patient           WALTER KEVIN
                                                                                                               0000096925490

                    6411 Fannin                                                              Reg.   Clinic     COU
                     Texas  77030-1501                                                       Date ofBirth      05/14/1974   Age   24   YRS   SexM
        Houston
                                                                                             Ord. Physician    DUKE JAMES H. TRAUMA
                    713    704-5227                                                          Ord.   Location   COU




                          0534           BODY   FLD/TISSUE   CULT   W/GRAM   ST   99   010   0732              STAIN
01/10/99




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Printed Date/Time                01/10/1999   1222
                                                                       PARTIAL
                                                                                                                                       End of Report
   Discharge   Date   01/14/99



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     7   NOTE      PHYSICAL    EVIDENCE    CUT-UP   PAPER    IN   THE   CUSTODY

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 7   NOTE       PHYSICAL   EVIDENCE   DRAWING   IN   THE    CUSTODY   OF   THE.


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     7   NOTE       PHYSICAL   EVIDENCE   DRAWING   IN   THE    CUSTODY   OF   THE


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                                                       Lafayette Parish Sheriff Department
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                                                                                      LAFAYETTE        LOUISIANA   70502




                                                                                                                                                                TELEPHONE
            Donald         J.   Breaux
            SHERIFF   AND EX-OFFICIO TAX COLLECTOR                                         September         1     1999                                318         232-9211




           TO                     WHOM           IT    MAY     CONCERN


           FROM                   SGT.           TONY    HEBERT


           RE                     CHARLES              MAMOU             JR.   B/M        DOB    12/06/74




           According                  to     research             conducted          on    the       above   named    subject    Mr.   Mamou   did     not
           have        any        disciplinary                    reports       written          by    any   LPCC deputies.


           If    I     can        be        of    further               assistance         you       can   contact    me   at   318    236-5469.




           Respectfully




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           SGT.        TONY           HEBERT




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